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                     PARK DIETZ & ASSOCIATES, INC.
                                           Forensic Experts


Administrative Offices                                           •   Forensic Psychiatry
                                                                 •   Forensic Psychology
2906 Lafayette                                                   •   Forensic Pathology
Newport Beach, CA 92663                                          •   Forensic Neurology
Tel: 949-723-2211                                                •   Forensic Social Work
Fax: 949-723-2212                                                •   Criminology
Email:   expert@parkdietzassociates.com                          •   Security
Website: www.parkdietzassociates.com



                 CURRICULUM VITAE (January 3, 2021)

                         Park Dietz, M.D., M.P.H., Ph.D.

 CURRENT POSITIONS:

 1996-            President, Park Dietz & Associates, Inc., Newport Beach,
                  California, and Washington, DC (Employer ID: 33-
                  0690184) (PD&A is a multidisciplinary forensic firm that
                  grew out of a forensic psychiatry practice begun in 1978.)

 1990-            Clinical Professor of Psychiatry and Biobehavioral Sciences,
                  Semel Neuropsychiatric Institute, David Geffen School of
                  Medicine, University of California, Los Angeles

 1987-            President, Threat Assessment Group,® Inc., Newport
                  Beach, California (Employer ID: XX-XXXXXXX) (TAG is a
                  workplace violence prevention firm offering training,
                  products, and consulting services to mitigate behavioral
                  risks.)

 1987-            Forensic Psychiatry Consultant, Forensic Sciences Unit,
                  New York State Police, Albany, New York

 1981-            Consultant, Critical Incident Response Group, Behavioral
                  Science Unit, Profiling and Behavioral Assessment Unit,
                  Behavioral Analysis Units, and National Center for the
                  Analysis of Violent Crime, F.B.I. Academy, Quantico,
                  Virginia

 EDUCATION:

   1970 A.B.             Cornell University College of Arts and Sciences
                           Honors Program in Psychology, 1969-1970
                           Alpha Epsilon Delta, 1969 (Vice President)




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                         Phi Beta Kappa, 1970
                         Phi Kappa Phi, 1970
                         A.B. cum laude in Psychology and With Distinction
                          in All Subjects, 1970

  1975 M.D.           Johns Hopkins University School of Medicine
                        Alpha Omega Alpha, 1975

  1975 M.P.H.         Johns Hopkins School of Hygiene and Public Health

  1984 Ph.D.          Johns Hopkins University (Sociology)

 POSTGRADUATE TRAINING:

 Residencies:

  1975-1977         Assistant Resident, Department of Psychiatry and
                    Behavioral Sciences, Johns Hopkins Hospital

  1977-1978         Resident, Department of Psychiatry, Hospital of the
                    University of Pennsylvania

 Fellowships:

  1973-1977         M.D.-Ph.D. Fellow, M.D.-Ph.D. Program in Behavioral
                    Sciences, Johns Hopkins University (National Institute
                    of General Medical Sciences Training Grant)

  1976-1977         Robert Wood Johnson Foundation Clinical Scholar, Johns
                    Hopkins University

  1977-1978         Robert Wood Johnson Foundation Clinical Scholar,
                    University of Pennsylvania

 FULL-TIME ACADEMIC APPOINTMENTS:

  1975-1977         Fellow, Department of Psychiatry and Behavioral
                    Sciences, Johns Hopkins University School of Medicine

  1977-1978         Chief Fellow in Forensic Psychiatry, Center for Studies in
                    Social-Legal Psychiatry, University of Pennsylvania
                    School of Medicine




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  1978-1982         Assistant Professor of Psychiatry, Harvard Medical
                    School, at the McLean Hospital

  1982-1986         Associate Professor of Law and of Behavioral Medicine
                    and Psychiatry, University of Virginia Schools of Law
                    and Medicine

  1986-1989         Professor of Law and Professor of Behavioral Medicine
                    and Psychiatry, University of Virginia

 VISITING AND ADJUNCT APPOINTMENTS:

  1975-1978         Lecturer in the Department of Public Health
                    Administration, Division of Forensic Pathology, Johns
                    Hopkins School of Hygiene and Public Health

  1980-1983         Lecturer in the Department of Health Services
                    Administration, Division of Forensic Pathology, Johns
                    Hopkins School of Hygiene and Public Health

  1981-             Guest Lecturer, Behavioral Science Unit and National
                    Center for the Analysis of Violent Crime, F.B.I.
                    Academy, Quantico, Virginia

  1983-1989         Lecturer in the Department of Health Policy and
                    Management, Johns Hopkins School of Hygiene and
                    Public Health

  1987-1988         Adjunct Scholar, Foundation for American
                    Communications (FACS), Los Angeles, California

  2001-2010         Member, Research Advisory Board, Child Abduction and
                    Serial Murder Investigative Resources Center and
                    National Center for the Analysis of Violent Crime, F.B.I.
                    Academy, Quantico, Virginia

  2003              Visiting Professor of Psychiatry, University of Hawaii
                    John A. Burns School of Medicine, Honolulu, Hawaii

  2006              Visiting Professor of Psychiatry, University of Hawaii
                    John A. Burns School of Medicine, Honolulu, Hawaii

  2014-15           Distinguished Fellow, Center for Psychology & Law,
                    School of Social Ecology, University of California, Irvine




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  2015-16           Distinguished Fellow, Center for Psychology & Law,
                    School of Social Ecology, University of California,
                    Irvine

 HOSPITAL AND ADMINISTRATIVE APPOINTMENTS:

  1978-1982         Assistant Psychiatrist, McLean Hospital, Belmont,
                    Massachusetts

  1978-1980         Director of Forensic Psychiatry, McLean/Bridgewater
                    Project, Bridgewater State Hospital, Massachusetts
                    Correctional Institution at Bridgewater

  1978-1982         Director, Medical Criminology Research Center, McLean
                    Hospital/Harvard Medical School

  1982-1988         Medical Director, Institute of Law, Psychiatry and Public
                    Policy, University of Virginia

  1983-1989         Psychiatrist, University of Virginia Hospitals

  1987-1988         Associate Director (Public Policy), University of Virginia
                    Center for the Prevention of Disease and Injury

  1987-1990         Advisory Board, Johns Hopkins Injury Prevention
                    Research Center

 INSTITUTIONAL COMMITTEE ASSIGNMENTS:

  McLean Hospital
   Director, Forensic Psychiatry Fellowship Program, 1978-1980
   Member, Subcommittee on Clinical Research, Long Range Planning
    Committee, 1980
   Member, Subcommittee on New Frontiers, Long Range Planning
    Committee, 1980
   Chairman, Committee for the Scientific Review of Research,
    McLean/Bridgewater Program, 1978-1980

  University of Virginia School of Law
   Academic Review Committee, 1984-1988
   Academic Policy and Grading Committee, 1985-1987
   Calendar Committee, 1984-1986
   Catalog Committee, 1984-1987




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    Law Enforcement Liaison Committee, 1986-1987
    Library Committee, 1983-1988

  University of Virginia School of Medicine
   Director, Forensic Psychiatry Fellowship Program, 1982-1988

 LICENSURE (MEDICINE AND SURGERY) AND CERTIFICATION
 (PSYCHIATRY):

  1975-1988         Maryland State Board of Medical Examiners License No.
                    D18304 (currently on inactive status)

  1977-2004         Pennsylvania State Board of Medical Education and
                    Licensure Certificate No. MD-019311-E (currently on
                    inactive status)

  1978-1988         Massachusetts Board of Registration in Medicine
                    Registration No. 043550 (currently on inactive status)

  1979-             American Board of Psychiatry and Neurology
                    (Psychiatry) Certificate No. 19765

  1982-             Virginia State Board of Medicine License No. 0101-
                    034874

 AWARDS AND HONORS:

  1975              First Prize Award, John P. Rattigan Student Essay
                    Competition, American Society of Law and Medicine

  1977              Wendell Muncie Award, Maryland Psychiatric Society
                    and Maryland Association of Private Practicing
                    Psychiatrists

  1979              Corresponding Member, Australian Academy of Forensic
                    Sciences

  1979              Fellow, American Academy of Forensic Sciences

  1981              Honorary Member, Asociacion Mexicana de Medicina
                    Legal

  1984              Alumni Lecturer, Robert Wood Johnson Foundation
                    Clinical Scholars Program Annual Meeting




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  1986              Krafft-Ebing Award, Psychiatry Section, American
                    Academy of Forensic Sciences

  1986              Fellow, American Psychiatric Association

  1988-89           Sesquicentennial Associate, Center for Advanced
                    Studies, University of Virginia

  1992-93           Selected for The Best Doctors in America in the
                    categories of "Forensic Psychiatry" and "Violence"
                    (inaugural edition)

  1992              Kenneth G. Gray Memorial Lectureship, Annual Meeting
                    of the Canadian Psychiatric Association, Montreal,
                    Quebec, (sponsored by the Kenneth G. Gray
                    Foundation, Clarke Institute of Psychiatry, Toronto)

  1993              Outstanding Service Award, American Academy of
                    Psychiatry and the Law

  1993              Citation for “Exceptional Service in the Public Interest,”
                    Louis Freeh, Director, Federal Bureau of Investigation

  2003              Distinguished Fellow, American Psychiatric Association

  2009              Citation as one of the “Top 25 Most Influential People in
                    the Security Industry,” Security magazine

  2010              “Seymour Pollack Award for Distinguished Contributions
                    to Education in Forensic Psychiatry,” American Academy
                    of Psychiatry and the Law

  2013              G. Stanley Hall Distinguished Lecture in Clinical
                    Psychology, Johns Hopkins University (sponsored by the
                    Psi Chi Honors Society)

  2014              Keynote Address, University of Pennsylvania Medical
                    Alumni Weekend, May 16, 2014




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 NATIONAL PUBLIC POLICY ACTIVITIES:

  1980-1982         Task Force on Families of Catastrophe (Mobilization I,
                    The Iranian Hostage Crisis), The Family Research
                    Institute, Purdue University

  1984-1985         Committee on Trauma Research, National Research
                    Council/National Academy of Sciences

  1985-1986         Commissioner, Attorney General's Commission on
                    Pornography, United States Department of Justice

  1986              United States Delegate, Chancellor Helmut Kohl's
                    Neurosciences and Ethics Conference, Bonn and
                    Klostergut Jakobsberg, Federal Republic of Germany

 EDITORIAL BOARDS:

  1974-1977           Assistant Editor, Johns Hopkins Medical Journal

  1974-1988           Editorial Board, Bulletin of the American Academy of
                      Psychiatry and the Law, Assistant Editor,1974-1978;
                      Associate Editor, 1978-1988)

  1979-1990           Editorial Board, Psychiatric Journal of the University of
                      Ottawa

  1979-1994           Editorial Board, Journal of Forensic Sciences

  1982-2000           Editorial Board, Behavioral Sciences and the Law

  1984-1985           Associate Editor, Legal Aspects of Psychiatric Practice

  2012-               Editorial Board, Journal of Threat Assessment and
                      Management

  Editorial consultant/reviewer for:

    Accident Analysis and Prevention
    American Journal of Epidemiology
    American Journal of Psychiatry
    American Journal of Public Health
    Archives of General Psychiatry
    Behavioral Sciences and the Law




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    Biological Psychiatry
    Bulletin of the American Academy of Psychiatry and the Law
    Hospital & Community Psychiatry
    Journal of Forensic Sciences
    Journal of the History of the Behavioral Sciences
    Journal of Nervous and Mental Disease
    Journal of Psychiatric Research
    Journal of Studies of Alcohol
    Journal of Threat Assessment
    Journal of Trauma
    Law and Human Behavior
    Psychiatric Journal of the University of Ottawa
    Psychosomatics

 PROFESSIONAL SOCIETIES (MEMBERSHIPS, OFFICES, AND
 COMMITTEES):

  American Academy of Forensic Sciences
   Member, 1977-present
   Fellow, 1979-present
   Elective Offices:
    Chairman, Psychiatry Section, 1979-1982 (three terms)
    Fellow-at-Large, Psychiatry Section, 1982-1985
    Executive Committee, 1982-1985
   Annual Meeting Program Committee, 1979-1981
   Council, 1979-1982
   Nominating Committee, 1979-1982
   Membership Committee, 1979-1982
   Joint Committee on Accreditation of Training Programs in
    Forensic Psychiatry, 1980-1986

  American Academy of Psychiatry and the Law
   Member, 1977-present
   Elective Offices:
    Secretary, 1979-1983 (two terms)
    Councilor (Executive Council), 1983-1984
    Vice President, 1984-1985
    Councilor (Executive Council), 1990-1993
    President-Elect, 1993-1994
    President, 1994-1995
    Immediate Past-President, 1995-1996
   Awards Committee, 1985-1987
   Budget Committee, 1995-1996
   Committee on Criminal Behavior, 1985-1990 (Chairman, 1985-1990)




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    Committee on International Relations, 1982-1984; 1989-1992
     (Chairman, 1982-1984)
    Education Committee, 1977-1981
    Ethics Committee, 1980-1982
    Executive Council, 1983-1996 (Chairman, 1994-1995)
    Long Range Planning Committee, 1996-1998
    Nominating Committee, 1983-1984, 1990-1997 (Chairman, 1994-
    1995)
    Committee on Liaison with the American Academy of Forensic
     Sciences, 1989-1994
    Committee on Research, 1984-1987
    Joint Committee on Accreditation of Training Programs in
     Forensic Psychiatry, 1980-1986
    Program Chairman, 10th Annual Meeting, Baltimore, Maryland,
     October 25-28, 1979
    Program Committee, 1977-1980 (Chairman, 1978-1979)
    Rappeport Travel Fellowship Committee, 1984-1985
    Task Force on Videotaping, 1993-1999

  American Association for the Advancement of Science
   Member, 1981-1983, 1988-1993

  American Psychiatric Association
   Member, 1977-present
   Fellow, 1986-2003
   Distinguished Fellow, 2003-2007
   Distinguished Life Fellow, 2007-present
   Consultant, Task Force on the Right to Treatment, 1974-1977
   Committee on Misuse and Abuse of Psychiatry in the United
    States, 1979-1980
   Committee on Abuse and Misuse of Psychiatry and Psychiatrists in
    the United States, 1980-1987 (Chairman, 1984-1986)
   Advisory Committee on the Paraphilias, Task Force on
    Nomenclature and Statistics (DSM-III-R), 1985-1987
   Advisory Committee on Disorders of Impulse Control Not Elsewhere
    Classified, Task Force on Nomenclature and Statistics (DSM-
    III-R), 1985-1987
   Adviser, Sexual Disorders, DSM-IV
   Adviser, Sexual Disorders, DSM-IV-TR

  American Psychology-Law Society (Division 41, American
  Psychological Association)
   Member-at-Large, 1979-unknown date




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   American Public Health Association
    Member, 1974-1978

   American Society of Criminology
    Member, l974-1995

   American Society of Law and Medicine
    Member, 1974-1987

  American Sociological Association
   Member, 1975-1984
   Publications Committee, Medical Sociology Section, 1977-1978

   Association for the Advancement of Psychotherapy
    Member, 1974-1979

   Association of Directors of Forensic Psychiatry Fellowships
    Founding Member, 1986-1988
    Elective Office: Vice President, 1986-1988

   Forensic Mental Health Association of California
    Member, 1989-unknown date

   Forensic Science Society (Great Britain)
    Member, 1973-unknown date

   Group for the Advancement of Psychiatry
    Member, then Corresponding Member, 1980-2015
    Committee on Psychiatry and Law, 1980-unknown date

   International Criminal Investigative Analysis Fellowship
    Affiliate Member, Unknown date - present

   Johns Hopkins Medical and Surgical Association
    Member, 1975-present

   Maryland Psychiatric Society
    Member, 1977

   Massachusetts Psychiatric Society
    Member, 1978-1982
    Judicial Action Committee, 1979-1982




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   Orange County Psychiatric Society
    Member, 1990-present

   Psychiatric Society of Virginia (formerly the Neuropsychiatric
   Society of Virginia)
    Member, 1982-1990

   Pennsylvania Psychiatric Society
    Member, 1977-1978

   Society for the Study of Social Problems
    Member, 1970-1986

   Society for the Scientific Study of Psychopathy
    Member, 2005-unknown date

 RESEARCH GRANTS:

 "Battery and Murder Defendants: A Psychiatric and Criminological
 Study," funded through a subcontract from the Center for the
 Interdisciplinary Study of Criminal Violence at the University of
 Pennsylvania, funded by National Institute of Justice grant No. 79-NI-
 AX-0127, November 15, 1980, through September 30, 1982
 ($13,146).

 "Psychiatrists and Their Settings: Effects on Services," National Center
 for Health Services Research grant No. 1R03-HS04414-01, May 1,
 1981, through April 30, 1982 ($27,834).

 "Violence and Mental Disorder: The Choice of Public Figures as
 Victims," National Institute of Justice grant No. 83-NI-AX-0005,
 October 1, 1983, through September 30, 1988 ($399,813).

 “Crimes against the Children and Families of Public Figures: Stalking,
 Threats, Kidnapping, and Murder,” anonymously funded research,
 February 26, 2003, through August 30, 2004.

 RESEARCH ADVISORY POSITIONS:

   1978-1981        Consultant, "Longitudinal Study of Biosocial Factors
                    Related to Delinquency and Crime" (Law Enforcement
                    Assistance Administration grant to the University of
                    Pennsylvania; Principal Investigator: Marvin Wolfgang)




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   1979             Technical Review Committee for Advocacy
                    Demonstration Project, National Institute of Mental
                    Health

   1979-1981        Advisory Committee, "The Movement of Offender
                    Populations Between Mental Health and Correctional
                    Institutions" (Law Enforcement Assistance
                    Administration grant to the University of California
                    Irvine, and the New York Department of Mental
                    Hygiene; Principal Investigators: John Monahan and
                    Henry J. Steadman)

   1979-1981        Advisory Committee, "The Utilization of Psychiatric and
                    Psychological Services by Criminal Court Judges" (Law
                    Enforcement Assistance Administration grant to the
                    Forensic Sciences Foundation; Principal Investigator:
                    Jonas R. Rappeport)

   1980-1981        Consultant, "Research on the Use of Children in
                    Pornography" (National Center on Child Abuse and
                    Neglect grant to Boston University; Principal
                    Investigator: Ann Wolbert Burgess)

   1984- 1992       Board of Trustees, Forensic Sciences Foundation (Vice
                    President, 1985-1986)

   2001-            Research Advisory Board, Child Abduction and Serial
                    Murder Investigative Resources Center, F.B.I. Academy,
                    Quantico, Virginia

 SELECTED NOTABLE CASES THAT ARE PUBLIC INFORMATION:

   1981-1982        Consultant to the United States Attorney's Office,
                    Washington, D.C., in U.S. v. John W. Hinckley, Jr.
                    (attempted assassination of President Reagan)

   1982-            Consultant to the F.B.I., the National Food Processors
                    Association, and various corporations in product
                    tampering cases, beginning with the Chicago Tylenol
                    murders

   1982-            Consultant to the F.B.I. on unsolved serial homicides,
                    serial bombings, serial rapes, and other active
                    investigations




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   1987-1988        Consultant to the District Attorney of the County of New
                    York, New York, in People v. Robert Chambers ("the
                    Preppy Murder Case")

   1988             Consultant to the Office of the Attorney General, State
                    of New York, in the Grand Jury Investigation into
                    allegations arising out of the matter of Miss Tawana
                    Brawley (white law enforcement officials accused by
                    Rev. Al Sharpton of kidnapping and raping African-
                    American adolescent)

   1988             Consultant to the Central Intelligence Agency in Mrs.
                    David Orlikow et al. v. United States of America
                    (alleged CIA-funded brainwashing of mental patients
                    from 1957-61)

   1990             Consultant to the United States Attorney's Office, New
                    York, in U.S. v. Dial Information Services Corporation of
                    New York (Dial-a-porn case; 2nd Circuit Opinion: 938
                    F.2d 1535 (2nd Cir. 1991))

   1989-1990        Consultant to the United States Attorney's Office, Los
                    Angeles, California, in U.S. v. Michael Lawrence Shields
                    (threats by stalker against Stephanie Zimbalist)

   1990             Consultant to the District Attorney of Monroe County,
                    New York, in People v. Arthur Shawcross (serial
                    murders of prostitutes)

   1990-1991        Consultant to the U.S. Department of Justice in U.S. v.
                    Walter Leroy Moody, Jr. (VANPAC case: mail bombs
                    killing U.S. Circuit Court Judge Robert Vance of the 11th
                    Circuit Court of Appeals in Birmingham, AL, and a civil
                    rights lawyer in Savannah, GA)

   1991             Consultant to the Office of the Public Defender of Los
                    Angeles County, California, in People v. Robert Bardo
                    (murder of actress Rebecca Schaefer)

   1991             Consultant to the Office of the District Attorney, San
                    Diego County, California, in People v. Elizabeth
                    Broderick (murder of ex-husband and his new wife)




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   1991-1992        Consultant to the California Department of Justice in
                    William George Bonin v. Vasquez (federal habeas
                    petition of "the Freeway Killer"; 9th Circuit Opinion: 59
                    F.3d 815 (9th Cir. 1995))

   1991-1992        Consultant to the Office of the District Attorney,
                    Milwaukee County, Wisconsin, in State v. Jeffrey L.
                    Dahmer (serial murders of men)

   1992-1995        Consultant to the plaintiff in Gary Ramona v. Marche
                    Isabella, M.F.C.C., Richard Rose, M.D., et al. (induction
                    of false memories is malpractice)

   1992-1999        Consultant to the Office of the Attorney General, State
                    of California, in People v. Charles Ng (serial murders
                    with Leonard Lake)

   1993-1995        Consultant to the Office of the District Attorney, Nassau
                    County, New York, and Office of the District Attorney,
                    Suffolk County, New York, in People v. Joel Rifkin (serial
                    murders of prostitutes)

   1994             Consultant to the Office of County Attorney, Lancaster
                    County, Nebraska, in People v. Arthur McElroy
                    (attempted mass murder on campus of University of
                    Nebraska, Lincoln)

   1994             Consultant to the United States Attorney's Office,
                    Washington, D.C., in U.S. v. James E. Swann, Jr. (serial
                    murders by the "Shotgun Stalker")

   1994-1995        Consultant to the defense in People of New York v.
                    Ricardo Caputo (serial murders of lovers)

   1994-1995        Consultant to the United States Attorney's Office,
                    Rochester, NY, in U.S. v. Earl H. Figley and U.S. v.
                    Michael T. Stevens (serial mail bombings and homicide)

   1994-1995        Consultant to the Office of the District Attorney, Nassau
                    County, New York, in People v. Colin Ferguson (mass
                    murder on the Long Island Railroad)




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   1994-1995        Consultant to the Solicitor for the 16th Circuit, SC, in
                    People v. Susan Smith (mother rolled car into lake,
                    drowning her two children)

   1994-1996        Consultant to the Office of the District Attorney,
                    Sonoma County, California, in People v. Richard Allen
                    Davis (abduction and murder of Polly Klaas)

   1994-1996        Consultant to the defense in People of California v.
                    Ernesto Anguiano (homicides of defendant’s nephew
                    and mother in the belief they were vampires)

   1994-1996        Consultant to the Office of the District Attorney, Los
                    Angeles, California, in People v. Lyle and Erik Menendez
                    (double murder of parents)

   1994-1996        Consultant to the Office of the District Attorney, New
                    York, New York, in People v. William Tager (murder of
                    NBC stage hand outside the "Today" show)

   1994-1997        Consultant to the Office of the Public Defender, Orange
                    County, California, in People v. John Famalaro
                    (abduction and murder of woman whose body was kept
                    in a freezer for years)

   1995-1996        Consultant to the Office of the District Attorney, Norfolk
                    County, Massachusetts, in Commonwealth v. John Salvi
                    (murders at abortion clinics)

   1995-1997        Consultant to the defense in Estate of Shane Curry v.
                    The Armada Inn (Ohio civil suit alleging negligent
                    security in the death of NFL football player)

   1996-1997        Consultant to the plaintiffs in Goldman v. O.J. Simpson
                    (civil suit for the murder of Ronald Goldman and Nicole
                    Brown Simpson)

   1996-1997        Consultant to the Office of the United States Attorney,
                    Philadelphia, Pennsylvania, in U.S. v. John Bennett, Jr.
                    (the New Era Philanthropy fraud case)

   1996-1997        Consultant to the Office of the District Attorney, San
                    Diego County, California, in People v. Joshua Jenkins
                    (juvenile murdered five family members)




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   1996-1997        Consultant to the Office of the District Attorney,
                    Delaware County, Pennsylvania, in Commonwealth v.
                    John duPont (murder of Olympic wrestler Dave Schultz)

   1996-1998        Consultant to the Office of the Attorney General,
                    Delaware, in Delaware v. Amy Grossberg (neonaticide)

   1996-1998        Consultant to the United States Department of Justice
                    in U.S. v. Theodore Kaczynski (the Unabom case)

   1996-2000        Consultant to the defense, Schaeffer v. Vera Wang
                    Bridal Salon and Hotel Carlyle (negligent security claim
                    against bridal salon victimized by armed robbers)

   1997-1998        Consultant to the Monmouth County Prosecutor’s Office
                    in New Jersey v. Melissa Drexler (the “Prom Mom” case)

   1997-1998        Consultant to the Office of the District Attorney, Queens
                    County, New York, in People v. Heriberto Seda (“Zodiac
                    killer”)

   1998-1999        Consultant to the Office of the District Attorney,
                    Madison, Wisconsin, in Wisconsin v. Salim Amara
                    (defendant threw gasoline on bus passengers and
                    ignited it)

   1998-2000        Consultant to the Office of the District Attorney,
                    Westchester County, New York, in People v. Michael
                    Laudor (Yale Law School graduate killed fiancé in the
                    deluded belief she was a robot)

   1998-2000        Consultant to the Office of the District Attorney,
                    Dutchess County, New York, in New York v. Kendall
                    Francois (serial killings of prostitutes, whose bodies
                    were found in the defendant’s parents’ home)

   1998-2005        Consultant to the United States Attorney’s Office,
                    Washington, D.C., in U.S. v. Russell E. Weston (killings
                    of two officers of the U.S. Capitol Police at the U.S.
                    Capitol)




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   1999             Consultant to the Office of the District Attorney, Lane
                    County, Oregon, in Oregon v. Kipland Phillip Kinkel
                    (school shootings)

   1999             Consultant to the defense, Amedure v. Warner Bros. et
                    al. (Jenny Jones show murder case)

   1999-2000        Consultant to the United State’s Attorney’s Office,
                    Fresno, California, in U.S. v. Cary Anthony Stayner
                    (Yosemite murders)

   1999-2000        Consultant to the Office of the District Attorney,
                    Rockdale County Judicial Circuit, Georgia, in Georgia v.
                    Anthony B. Solomon, Jr. (school shooting)

   1999-2000        Consultant to the Office of the Public Defender, Orange
                    County, California, in People v. Steven Abrams (killing
                    of two children at preschool)

   1999-2000        Consultant to the Office of the District Attorney,
                    Riverside County, California, in People v. Joseph Neale
                    (attempted murder of the mayor and city council)

   1999-2000        Consultant to the defense, Hawaii v. Byran Uyesugi
                    (mass murder at Xerox by employee)

   1999-2001        Consultant to the United State Attorney’s Office, Los
                    Angeles, California, in U.S. v. Buford Furrow, Jr.
                    (shootings of children at the Jewish Community Center
                    and murder of a mail carrier by Aryan Nations
                    associate)

   2000-2001        Consultant to the San Francisco Public Defender’s
                    Office, San Francisco, California, in People v. Jonathan
                    Haynes (homicides of hair colorist and plastic surgeon
                    because they traded in “fake Aryan cosmetics”)

   2000-2001        Consultant to the Office of the District Attorney, Orange
                    County, California, in People v. Edward Allaway
                    (restoration of sanity of man acquitted by reason of
                    insanity for 1976 mass murder at California State
                    University, Fullerton)




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   2000-2002        Consultant to the Office of the District Attorney,
                    Jefferson County, Colorado re. the Columbine
                    Psychiatric Autopsy Project (mass murder and suicides
                    by Eric Harris and Dylan Klebold at Columbine High
                    School in April 1999)

   2000-2002        Consultant to the Mariposo County, California, District
                    Attorney’s Office in People v. Cary Anthony Stayner
                    (murder of three tourists in Yosemite)

   2001-2006         Consultant to the Office of the District Attorney, Harris
                     County, Texas, in Texas v. Yates (mother charged with
                     drowning her five children)

   2002-2004         Consultant to the United States Attorney’s Office,
                     Cedar Rapids, Iowa, in U.S. v. Helder (serial mailbox
                     bombings in Nebraska, Colorado, Texas, Illinois, and
                     Iowa)

   2003              Consultant to the Office of the District Attorney, Prince
                     William County, Virginia, in Commonwealth of Virginia
                     v. John Allen Muhammad (sniper shootings)

   2003              Consultant to the Office of the District Attorney, Fairfax
                     County, Virginia, in Commonwealth of Virginia v. John
                     Lee Malvo (sniper shootings)

   2003             Consultant to the Office of the U.S. Attorney, Salt Lake
                    City, UT, re. U.S. v. Brian David Mitchell (Elizabeth
                    Smart kidnapping)

   2003-2005        Consultant to the United States Attorney’s Office,
                    Birmingham, Alabama, in U.S. v. Eric Rudolph (serial
                    bombings)

   2004-2008        Consultant to the United States Attorney’s Office,
                    Kansas City, Missouri, in U.S. v. Lisa Montgomery
                    (alleged fetus abduction homicide)

   2005-2010        Consultant to the Habeas Corpus Resource Center re.
                    Troy Ashmus v. Warden (sexual homicide of child)




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   2006-2009        Consultant to the Maricopa County District Attorney’s
                    Office, Phoenix, Arizona, in People of Arizona v. Samuel
                    Dieteman and Dale Hausner (sniper shootings)

   2007-2009        Consultant to the California Attorney General’s Office re.
                    Douglas Daniel Clark v. Warden (serial killings known as
                    the work of the “Sunset Slasher” or “Sunset Slayer”)

   2008-2009        Consultant to the California Attorney General’s Office re.
                    Michael Dee Mattson v. Warden (serial killings)

   2008-2009        Consultant to the San Joaquin County District Attorney’s
                    Office in People of California v. Roger Kibbe (the “I-5
                    Strangler” serial murders)

   2009             Consultant to the Skagit County Prosecuting Attorney,
                    Mt. Vernon, WA, in People of Washington v. Isaac
                    Zamora (mass murder)

   2010-            Consultant to the Boys Scouts of America in civil suits
                    alleging inappropriate conduct by participants in
                    scouting

   2010-2015        Consultant to appellant in Re.: Cory Morris (post-
                    conviction relief for New Mexico serial killer accused of
                    necrophilic motive)

   2010-2014        Consultant to the United States Attorney’s Office, St.
                    Louis, MO, in US v. Edward Bagley, Sr., et al.
                    (sadomasochistic sex trafficking)

   2010-2014        Consultant to the defense in U.S. v. David H. Brooks
                    (white collar crimes)

   2010-2011        Consultant to the plaintiff in Stevens v. U.S. (anthrax
                    attack)

   2011-2012        Consultant to the United States Attorney’s Office,
                    Tucson, AZ, in U.S. v. Jared Loughner (Tucson mass
                    murder and assassination attempt)

   2011-2013        Consultant to the defense in litigation filed against PG&E
                    in connection with an explosion and fire in San Bruno,
                    CA.




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   2011- 2017       Consultant to the Orange County, CA, District
                    Attorney’s Office, and Office of the California Attorney
                    General in People of California v. Scott Evans Dekraai
                    (mass murder)

   2011-2015         Consultant to the defense in Deepak Kalpoe and Satish
                    Kalpoe v. Phillip C. McGraw, CBS Television Distribution
                    Group F/K/A/ CBS Paramount Domestic Television,
                    Peteski Productions, Inc., et al. (civil suit alleging
                    defamation of the Kalpoe brothers for their involvement
                    in the disappearance of Natalee Holloway in Aruba)

   2012             Consultant to the Office of the U.S. Attorney,
                    Anchorage, AK, in U.S. v. Israel Keyes (serial murder,
                    including the abduction and murder of Samantha
                    Koenig)

   2012-2013        Consultant to the Orange County, CA, District Attorney’s
                    Office in People of California v. Itzcoal Ocampo (serial
                    murders)

   2012-2013        Consultant to the Marin County, CA, District Attorney’s
                    Office in People of California v. Joseph Naso (serial
                    murders, 1970s-1990s)

   2012-2014        Consultant to the Federal Defenders of New York in U.S.
                    v. Gilberto Valle (alleged “cannibal cop”)

   2012-2014        Consultant to the defense in the Miramonte School Case
                    (allegations of teacher feeding semen to elementary
                    school children)

   2012-2018        Consultant to the Orange County, CA, District Attorney’s
                    Office in People of California v. Andrew Urdiales (serial
                    murders)

   2014-2015        Consultant to the defense in U.S. v. Ross Ulbricht
                    (prosecution of alleged founder of Silk Road)

   2014-2015        Consultant to the defense in People of New York v. Gigi
                    Jordan (homicide of autistic child by mother)




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   2014-2015        Consultant to the U.S. Department of Justice and the
                    Office of the U.S. Attorney, Boston, MA, in U.S. v.
                    Dzhokhar Tsarnaev (Boston Marathon Bombing mass
                    murder)

 2014-              Consultant to the Orange County, CA, District
                    Attorney’s Office in People of California v. Franc Cano
                    and Steven Gordon (serial murders)

 2015-2019          Consultant to the Office of the U.S. Attorney,
                    Washington, D.C., in U.S. v. Diana Lalchan (domestic
                    homicide)

 2016-2017          Consultant to the U.S. Department of Justice and U.S.
                    Attorney’s Office, Charleston, S.C., in U.S. v. Dylann
                    Storm Roof (mass murder at the African Methodist
                    Episcopal Church, Charleston, S.C.)

 2017               Consultant to the NCAA in Paterno v. NCAA (alleged
                    defamation)

 2017               Consultant to the defense in Leath Rothman v. Peteski
                    Productions, Inc., CBS Studios, Inc., Dr. Phil McGraw, et
                    al. (civil suit alleging false imprisonment and intentional
                    infliction of emotional distress)

 2017-2019          Consultant to Montana Attorney General’s Office in
                    People v. Lloyd Barrus (murder of Sheriff Deputy and
                    fatal shoot out with law enforcement by anti-
                    government man)

 2018-2019          Consultant to the U.S. Department of Justice and U.S.
                    Attorney’s Office, Peoria, IL, in U.S. v. Brendt
                    Christensen (kidnapping and murder of Chinese
                    graduate student)

 2018-2019          Consultant to the Federal Public Defender’s Office,
                    District of Alaska, in U.S. v. James Wells (double
                    homicide on Coast Guard base)

 2018-              Consultant to the defense in Estate of Childress v. Las
                    Vegas Metropolitan Police Department, et al. (fugitive’s
                    suicide by cop)




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 2018-              Consultant to the U.S. Department of Justice and U.S.
                    Attorney's Office, Middle District of Florida, in U.S. v.
                    Jarvis Wayne Madison (capital murder uxoricide)

 2018-              Consultant to Monmouth County, NJ, Prosecutor’s Office
                    re. People v. Scott Kologi (familicide by 16 year old)

 2018-              Consultant to U.S. Attorney’s Office re. U.S. v. Ryan
                    Phillip Schlesinger (murder of U.S. Marshal)

 2019-              Consultant to Douglas County, Colorado, District
                    Attorney’s Office in People v. Devon Erickson and Maya
                    Elizabeth McKinney a/k/a Alec McKinney (fatal school
                    shooting)

 2019-              Consultant to U.S. Department of Justice Civil Rights
                    Division re. U.S. v. Robert Dear (mass murder at
                    Planned Parenthood)

 EXPERT TESTIMONY, APRIL 1990-PRESENT:

 Joanne Goldman v. Sol I. and Gladys L. Goldman (Bangor, Maine)
 Testified at deposition, 4/2/90

 Armijo vs. Border Area Mental Health (Albuquerque, New Mexico)
 Testified at deposition, 5/1/90

 U.S. v. Dial Information Services Corporation of New York (New York,
 New York) [2nd Circuit Opinion: 938 F.2d 1535 (2nd Cir. 1991)]
 Testified at deposition, 5/13/90
 Testified in court (trial or hearing), 5/14/90

 Jane Doe v. Stuart Brown, M.D. (San Diego, California)
 Testified by deposition, 6/6/90

 Carin Evans vs. Richard Benton, Ph.D. (Houston, Texas)
 Testified at deposition, 5/25/90
 Testified at deposition, 6/27/90

 Curran v. Mount Diablo Council, Boy Scouts of America (Los Angeles,
 California)
 Testified at deposition, 8/14/90




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 Izbicki v. Ridgeview (Atlanta, Georgia)
 Testified at deposition, 8/27/90

 Rima v. Kaiser Permanente (Fairfax, Virginia)
 Testified at deposition, 8/17/90

 U.S. v. Shields (Los Angeles, California)
 Testified at sentencing hearing, 10/25/90

 People v. Arthur J. Shawcross (Rochester, New York)
 Testified at trial, 11/90 and 12/90

 U.S. v. Walter Leroy Moody (Birmingham, Alabama; Atlanta, Georgia;
 and Savannah, Georgia)
 Testified at trial, 12/13/90

 McNeil v. P.F.I. (New York, New York)
 Testified at deposition, 1/15/91

 U.S. v. Keith Gordon Ham, et al. (Wheeling, West Virginia)
 Testified at trial, 3/14/91

 U.S. v. Randy Ryan (Birmingham, AL)
 Testified at hearing, 3/15/91

 Teresa Janus, Individually and as Special Administratrix of the Estate
 of Adam Janus, Deceased, vs. McNeil Consumer Products Company, a
 Division of McNeil-PPC, Inc.; and McNeilab, Inc. (Minneapolis,
 Minnesota)
 Testified at deposition, 4/19/91

 Vance v. Krause (DeKalb County, Georgia)
 Testified at trial, 5/17/91

 State of New Mexico v. Chester, M.D. (Albuquerque, NM)
 Testified at trial, 8/5/91

 People of California v. Robert John Bardo (Los Angeles, California)
 Testified for 6 days, ending 10/24/91

 Mertz v. Brzeski (Milwaukee, Wisconsin)
 Testified at deposition, 10/30/91




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 People of California v. Elizabeth Broderick (San Diego, California)
 Testified at trial, 11/26/91 and 11/27/91

 Senyard v. Radisson Hotel Stemmons (Dallas, Texas)
 Testified by telephone deposition, 1/3/92

 William George Bonin v. Vasquez (Los Angeles, California)
 Testified at federal habeas hearing, 1/29/92

 State of Wisconsin v. Jeffrey L. Dahmer (Milwaukee, Wisconsin)
 Testified at trial, 2/12/92 and 2/13/92

 Gregorio Garcia, et al. v. Avala of Texas, Inc., et al. (Houston, Texas)
 Testified at deposition, 1/21/92
 Testified at trial, 3/10/92 and 3/11/92

 Moore et al. v. Serrano (Houston, Texas)
 Testified at trial, 4/30/92

 McWhorter and Daneker v. Burroughs Wellcome Company (Seattle,
 Washington)
 Testified at deposition, 5/28/92

 U.S. v. Loren Bellrichard (Minneapolis, Minnesota)
 Testified at sentencing, 6/29/92 and 6/30/92

 K.P./S.D. v. YMCA of Greater Miami (Miami, Florida)
 Testified at deposition, 11/23/92

 State of South Carolina v. Johnnie Kenneth Register, II (Conway,
 South Carolina)
 Testified at trial, 1/22/93

 Commonwealth of Massachusetts v. Kenneth G. Seguin (Cambridge,
 Massachusetts)
 Testified at trial, 1/27/93 and 1/28/93

 People of California v. Dale Akiki (San Diego, California)
 Testified at trial, 11/1/93

 Economy Fire & Casualty Co. v. Betty Ann Haste, et al. (Springfield,
 Missouri)
 Testified at deposition, 11/18/93




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 Commonwealth of Pennsylvania v. Mari Molasky (Doylestown,
 Pennsylvania)
 Testified at trial, 1/6/94

 People of California v. Tiffany N. Sandeffer (Vista, California)
 Testified at trial, 3/14/94 and 3/23/94

 Gary Ramona v. Richard Rose, et al. (Napa Valley, California)
 Testified in depositions, 2/5/92, 6/24/92, and 8/5/92
 Testified at evidentiary hearing, 4/22/93 and 4/23/93
 Testified at trial, 3/29/94 and 3/30/94

 People of New York v. Joel Rifkin (Mineola, New York)
 Testified at trial, 5/3/94, 5/4/94, and 5/5/94

 R.M., etc., et al. v. A & M Industries et al. (Fort Lauderdale, Florida)
 Testified at deposition, 5/27/94

 Crews v. Wake County Hospital System and ServiceMaster (Wake
 County, New Carolina)
 Deposition by telephone, 6/28/94

 U.S. v. James E. Swann, Jr. (Washington, D.C.)
 Testified at trial, 9/26/94

 A.H. et al. v. Mercy Hospital of Laredo et al. (Laredo, Texas)
 Testified at deposition, 10/28/94

 Nebraska v. Arthur McElroy (Lincoln, Nebraska)
 Testified at trial deposition, 11/11/94

 People of California v. Richard A. Davis (Santa Rosa, California)
 Testified at pretrial hearing, 6/5/95
 Testified at trial, 5/21/96

 People of California v. LaBerge (Vista, California)
 Testified at motion hearing, 6/12/95

 In the Matter of the Appeal by John Perry (Sacramento, California)
 Testified at administrative hearing, 6/29/95

 Jerner v. Allstate (Orlando, Florida)
 Testified at evidentiary hearing, 9/1/95




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 Am. Natl. Fire Ins. Co. v. Birmingham Fire Ins. Co. (Houston, Texas)
 Testified at deposition, 10/4/95

 People of CA v. Erik Menendez (Los Angeles, California)
 Testified at trial, 2/8/96 and 2/9/96

 Young v. Johnny's Hot Dog Stand (Los Angeles, California)
 Testified at deposition, 2/16/96
 Testified at deposition, 8/23/96

 Garcia v. Fowler (Albuquerque, New Mexico)
 Testified at deposition, 2/26/96

 People of CA v. Sally McNeil (San Diego, California)
 Testified at trial, 3/13/96

 Fuscardo v. Lorello (Weirton, West Virginia)
 Deposition testimony, 4/19/96.

 Allen Klanika v. Stop 'N Go Markets of Texas (Dallas, Texas)
 Testified at deposition, 5/10/96
 Testified at trial, 6/27/96

 Kathleen Ferguson v. US West Communications (Denver, Colorado)
 Testified at arbitration, 5/17/96

 Galligan v. Pyramid Management Group, et al. (Boston,
 Massachusetts)
 Testified at deposition, 6/5/96

 Estate of Shane Curry v. The Armada Inn (Cincinnati, Ohio)
 Testified at deposition, 6/6/96

 Goldman v. O.J. Simpson (Los Angeles, California)
 Testified at deposition, 8/22/96
 Testified at hearing, 11/7/96

 State of Wisconsin v. Joseph Clark (Baraboo, Wisconsin)
 Testified at trial, 9/17/96

 Monney v. H.E. Butt Grocery Co (San Antonio, Texas)
 Testified at deposition, 10/1/96




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 People of California v. Ernesto Anguiano (San Mateo, California)
 Testified at trial, 10/8/96 and 10/9/96

 Tracy/Vanderpool v. Holiday Inns (Long Beach, California)
 Testified at deposition, 10/24/96
 Testified at trial, 5/15/98 and 5/18/98

 U.S. v. Gerard Gallant (Sacramento, California)
 Testified at trial, 11/20/96

 U.S. v. Norman Yazzie (Phoenix, Arizona)
 Testified at trial, 12/18/96

 Commonwealth of PA v. John duPont (Media, Pennsylvania)
 Testified at trial, 2/12/97 and 2/13/97

 Matthews v. Roman Catholic Bishop of Portland (Portland, Maine)
 Testified at deposition, 3/11/97

 People of CA v. Joshua Jenkins (Vista, California)
 Testified at trial, 3/19/97, 3/20/97, and 3/21/97

 U.S. v. John Bennett (Philadelphia, Pennsylvania)
 Testified at trial, 9/18/97

 Cannon v. Marriott (St Louis, Missouri)
 Testified at trial, 10/3/97

 Ryan v. Kempner (Winston-Salem, North Carolina)
 Testified at deposition, 10/21/97

 Smith v. City of Santa Rosa (Santa Rosa, California)
 Testified at deposition, 10/28/97

 Sears Canada Coroner's Inquest (Chatham, Ontario, Canada)
 Testified at inquest, 11/13/97

 Texas State Board of Medical Examiners v. James C. Johnston, M.D.
 (Houston, Texas)
 Testified through deposition by written questions, 11/25/97 and
 11/26/97

 WI v. Gerald Turner (Madison, Wisconsin)
 Testified at trial, 1/26/98 and 1/27/98




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 Sara Stump and Andrew M. Ocrant v. Daryl G. Gates, et al. (Denver,
 Colorado)
 Testified at trial, 3/26/98

 CA v. Robert Mark Edwards (Santa Ana, California)
 Testified at sentencing trial, 4/13/98

 Allman v. Union Butterfield (Ashville, North Carolina)
 Testified at deposition, 9/18/98
 Testified at trial, 4/23/99

 Schaeffer v. Vera Wang (New York, New York)
 Testified at deposition, 9/11/98
 Testified at deposition, 10/19/98

 CA v. Parker (Santa Ana, California)
 Testified at sentencing, 11/10/98

 MI v. McRae (Lansing, Michigan)
 Testified at trial, 12/10/98

 CA v. Lewis (Santa Ana, California)
 Testified at trial, 2/10/99

 Amedure v. Warner Bros. (Bloomfield Hills, Michigan)
 Testified at trial, 5/3/99 and 5/4/99

 CA v. Jules Delpy (Vista, California)
 Testified at trial, 7/28/99
 Testified at re-trial, 02/03/04, 02/04/04, and 02/24/04
 Testified at re-trial, 5/18/04 and 5/19/04

 Jensen v. National Railroad Passenger Corporation (Philadelphia,
 Pennsylvania)
 Testified at trial, 8/26/99
 Testified at trial, 2/29/00 and 3/1/00

 CA v. Brandon Wilson (Vista, California)
 Testified at trial, 9/24/99

 Pedraza v. City of San Jose (San Jose, California)
 Testified at deposition, 10/28/99




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 U.S. v. Steven Gene Chase (Eugene, Oregon)
 Testified at detention hearing (telephonic), 12/20/99

 HI v. Uyesugi (Honolulu, Hawaii)
 Testified at trial, 5/30/00

 Gallego v. Woodford (Oakland, California)
 Testified at deposition 6/8/00
 Testified at trial, 12/6/00

 Smith v. Equity Residential Properties Management (Atlanta, Georgia)
 Testified at deposition, 7/21/00

 Johnston v. North Orange County Community College District (Santa
 Ana, California)
 Testified at deposition, 8/22/00
 Testified at trial, 9/5/00

 Epps v. Preventative Security, Inc. (Philadelphia, Pennsylvania)
 Testified at trial, 8/25/00

 CA v. Joseph Neale (Riverside, California)
 Testified at trial, 11/20/00

 CA v. Rex Allan Krebs (Monterey, California)
 Testified at penalty phase, 05/03/01

 Saunders v. City of Santa Rosa (Santa Rosa, California)
 Testified at deposition, 6/27/01
 Testified at trial, 1/30/02

 Sigman v. U.S. (Spokane, Washington)
 Testified at deposition, 6/28/01

 Hamilton v. AIG Life Insurance Company (Washington, D.C.)
 Testified at deposition (telephonic), 7/11/01

 WA v. Brodie Walradt (Port Orchard, Washington)
 Testified at trial, 8/1/01 and 8/2/01

 U.S. v. Dieter Vogt (Key West, Florida)
 Testified at sentencing hearing, 8/8/01, 8/9/01, and 8/10/01




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 Waddell v. Lockheed Martin (San Jose, California)
 Testified at deposition, 10/12/01
 Testified at trial, 10/31/01

 Leanza v. McDonald Oil and Johnny Lovell (Columbus, Georgia)
 Testified at deposition, 10/19/01

 Cabrera v. Patino and Lievano (Miami, Florida)
 Testified at deposition, 3/11/02

 TX v. Andrea Pia Yates (Houston, Texas)
 Testified at trial, 3/7/02, 3/8/02 and 3/9/02
 Testified at trial, 7/13/06, 7/14/06 and 7/17/06

 U.S. v. SPC Lillie Morgan (Mannheim, Germany)
 Testified at trial, 4/10/02

 U.S. v. Aquilia Marcivicci Barnette (Charlotte, NC)
 Testified at trial, 8/8/02

 CA v. Cary Anthony Stayner (San Jose, CA)
 Testified at trial, 9/4/02, 9/5/02, 9/9/02, and 9/10/02

 CO v. Steven Michael Stagner (Glendwood Springs, CO)
 Testified at hearing, 10/8/02

 Holsey et al. v. Georgia Department of Human Resources et al.
 (Atlanta, Georgia)
 Testified at deposition, 10/19/02

 Cabrera et al. v. Eller Media Corp. et al. (Miami, FL)
 Testified at deposition, 11/21/02

 FL v. Jeffrey Schlosberg (West Palm Beach, FL)
 Testified at deposition, 12/21/02
 Testified at trial, 4/15/03

 Troy T. v. Does 1,2,3 (San Bernardino, CA)
 Testified at deposition, 4/22/03

 NY v. Christine Wilhelm (Troy, NY)
 Testified at trial, 7/1/03, 7/2/03




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 CA v. Vincent Henry Sanchez (Ventura, CA)
 Testified at trial, 8/25/03, 8/26/03

 City of Redondo Beach v. Stephen Shoemaker and Stephen McDonald
 (Los Angeles, CA)
 Testified at trial, 9/19/03

 FL v. Keith Adams (West Palm Beach, FL)
 Testified at deposition, 9/22/03
 Testified at trial, 1/15/04

 VA v. John Allen Muhammad (Virginia Beach, VA)
 Testified at hearings, 10/8/03, 10/9/03

 Good, et al. v. Fluor Daniel Corp., et al. (Seattle, WA)
 Testified at deposition, 10/30/03

 US v. Wesley Purkey (Kansas City, MO)
 Testified at trial, 11/17/03

 CA v. Scott Erskine (San Diego, CA)
 Testified at trial, 12/1/03 and 12/2/03
 Testified at re-trial, 5/27/04

 Jones v. Washington State Department of Social and Health Services,
 et al. (Seattle, WA)
 Testified at deposition, 12/9/03
 Testified at trial, 2/10/04

 FL v. Michael Connelly (Tampa, FL)
 Testified at trial, 3/9/04

 Wiley v. Frazer Center Inc., et al. (Atlanta, GA)
 Testified at deposition, 3/20/04

 IL v. Andrew Urdiales (Pontiac, IL)
 Testified at trial, 5/6/04 and 5/20/04

 WA v. Ronald Matthews (Seattle, WA)
 Testified at trial, 8/11/04 and 8/12/04

 CA v. George Williams (San Diego, CA)
 Testified at trial, 10/19/04 and 10/20/04




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 US v. O.C. Smith (Memphis, TN)
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 CO v. Rebekah Amaya (Lamar, CO)
 Testified at trial, 1/31/05

 CA v. Alejandro Avila (Santa Ana, CA)
 Testified at trial, 5/11/05

 US v. Scott Blackstone (Fort Bliss, TX)
 Testified at trial (telephonic), 5/11/05

 CA v. Edgar Omar Osorio (Santa Ana, CA)
 Testified at trial, 5/17/05

 In re: Loren Huss (Des Moines, IA)
 Testified at trial, 5/19/05 and 5/20/05

 Ronald Lee Deere v. Jeanne Woodford (Los Angeles, CA)
 Testified at deposition, 11/11/05 and 2/14/06
 Testified at hearing, 9/27/07

 IL v. Paul Runge (Chicago, IL)
 Testified at trial, 2/9/06

 CA v. Patricia Johnson (San Diego, CA)
 Testified at trial, 4/4/06

 CA v. Ford (San Bernardino, CA)
 Testified at trial, 5/31/06, 6/1/06 and 6/7/06

 Plaintiffs v. Masonic Homes of California, et al. (Pomona, CA)
 Testified at trial, 9/21/06 and 9/22/06

 Ortego v. Diocese of Lafayette, et al. (Lafayette, LA)
 Testified at deposition, 2/8/07

 Rister v. Archdiocese of San Diego, et al. (San Diego, CA)
 Testified at deposition, 2/9/07

 Buser v. Archdiocese of Los Angeles, et al. (Los Angeles, CA)
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 Hewlett-Packard Company v. Factory Mutual Insurance Company
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 O’Donnabhain v. Commissioner (Boston, MA)
 Testified at trial, 8/23/07 and 8/24/07

 AZ v. Samuel Dieteman and Dale Hausner (Phoenix, AZ)
 Testified at trial, 9/28/07

 US v. Lisa Montgomery (Kansas City, MO)
 Testified at trial, 10/17/07 and 10/18/07

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 Testified at competency hearing (telephonic), 1/23/08

 CA v. Sidney Nathaniel Landau (Santa Ana, CA)
 Testified at trial, 7/16/08, 7/17/08, 7/21/08, 7/22/08, and 7/23/08

 White v. Pasadena Police Department (Pasadena, CA)
 Testified at administrative hearing, 7/25/08

 CA v. Skylar Deleon (Santa Ana, CA)
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 CA v. Michael Gonzales (San Diego, CA)
 Testified at trial, 2/19/09

 Douglas Daniel Clark v. Warden (Newport Beach, CA)
 Testified at deposition, 3/24/09
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 Michael Dee Mattson v. Warden (Los Angeles, CA)
 Testified at trial, 3/26/09

 CA v. Jason Cooper (San Diego, CA)
 Testified at trial, 4/6/09, 4/7/09

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 Testified at trial, 1/26/10

 CA v. Ian Alex Suazo (San Diego, CA)
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 Chauncey M. DePree, Jr. v. Martha D. Saunders as President of the
 University of Southern Mississippi (Hattiesburg, MS)
 Testified at deposition, 4/20/10

 WA v. Daniel J. Mustard (Port Orchard, WA)
 Testified at hearing, 8/31/10 and 9/1/10
 Testified at trial, 12/1/10, 12/2/10, 12/3/10, and 12/8/10

 Regina v. Sandra Rinella and Alexander Petraitis (Toronto, Canada)
 Testified at voir dire, 10/27/10 and 10/28/10
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 CA v. Eric Russell Andreasen (Vista, CA)
 Testified at trial, 3/22/11

 Stevens v. U.S. (West Palm Beach, FL)
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 Deepak Kalpoe and Satish Kalpoe v. Phillip C. McGraw, CBS Television
 Distribution Group F/K/A/ CBS Paramount Domestic Television, Peteski
 Productions, Inc., et al.
 Testified at deposition, 10/19/11

 CA v. Brendan O’Rourke (Vista, CA)
 Testified at trial, 3/12/12

 CA v. Joseph Naso (San Rafael, CA)
 Testified at pre-trial hearing, 4/19/13
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 US v. David Brooks (Eastern District of New York, Central Islip, NY)
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 CA v. Sidney Nathaniel Landau (Santa Ana, CA)
 Testified at deposition, 10/4/13
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 Judith Cox and Charles Cox v. State of Washington, Department of
 Social and Health Services (Tacoma, WA)
 Testified at deposition, 5/9/14
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 US v. Wesley Paul Coonce, Jr., and Charles Michael Hall (Springfield, MO)
 Testified at trial, 5/28/14, 5/29/14

 Does v. Los Angeles Unified School District (Los Angeles, CA)
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 In re. Barrett Linde (Miami, FL)
 Testified at deposition, 10/1/14
 Testified at trial, 10/6/14

 John David Couzens v. Archdiocese of Kansas City (Kansas City, MO)
 Testified at trial, 10/9/14 and 10/10/14

 A.M. v. Los Angeles Unified School District, et al. (Los Angeles, CA)
 Testified at deposition, 10/17/14 and 10/23/14

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 Testified at deposition, 6/8/16

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 Testified at deposition, 12/22/16

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 McGraw, et al.
 Testified at deposition, 8/23/17

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 Marrilac Catholic Church, Fr. Christopher Cunningham, et al.
 Testified at deposition, 10/23/17

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 Testified at deposition, 1/17/19

 U.S. v. Brandon Michael Fleury (Fort Lauderdale, FL)
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        Academy, Albany, New York, November 12, 1987.

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  63.   Dietz PE: "Behavioral Aspects of Mass Murder Investigation,"
        Megaviolence: Major Violent Incident Control and Response
        Conference, International Association of Chiefs of Police,
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        Virginia, June 20, 1988.

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        Killer: John Joseph Joubert," American Academy of Forensic
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        Virginia, March 15, 1993.

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        Homicide Symposium, F.B.I. Academy, Quantico, Virginia, March
        15, 1993.

  82.   Dietz PE: "Assessing Threats to Public Officials," Threat
        Management Conference, Anaheim, California, May 13, 1993.

  83.   Dietz PE: "Workplace Violence," International Security
        Management Association, La Paloma, Arizona, January 20, 1994.

  84.   Dietz PE, Ressler RK: "Behavioral Aspects of Crime Investigation
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        Sciences, San Antonio, Texas, February 15, 1994.

  85.   Dietz PE: "Workplace Violence: Can it be Prevented?,"
        American Society for Industrial Security Workshop, "Workplace
        Violence-Strategies to Communicate," Tempe, Arizona, February
        28, 1994.

  86.   Dietz PE: “Identifying and Dealing with the Potentially
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        Seminar, Defense Research Institute, Dallas, Texas, April 15,
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        Homicide Investigators Seminar," Metropolitan Toronto Police
        Homicide Squad, Toronto, Ontario, June 21, 1994.

  89.   Dietz PE: "Workplace Violence: An Intensive One-day Violence
        Prevention Seminar Designed for Top Level Executive and
        Human Resource Management," Woods, Rogers & Hazelgrove,
        P.L.C., Roanoke, Virginia, June 17, 1994.

  90.   Dietz PE: Plenary Session: "Avoiding Workplace Violence,"
        Seyfarth, Shaw, Fairweather & Geraldson, The 1994 Labor Law
        Symposium, Beverly Hills, California, October 13, 1994.

  91.   Dietz PE: "Violence in the Workplace," Western States Bank
        Security Directors Meeting, San Diego, California, October 14,
        1994.

  92.   Dietz PE: "Preventing Violence in the Workplace: What Can the
        Employer Do?", Seyfarth, Shaw, Fairweather & Geraldson
        seminar, "Understanding, Preventing, and Responding to
        Workplace Violence," Chicago, Illinois, November 16, 1994.

  93.   Dietz PE: "Violence in the Workplace: What Can the Employer
        Do?," California Employment Law Council Annual Meeting, Los
        Angeles, California, November 18, 1994.

  94.   Dietz PE: "Countermeasures to Workplace Violence," Federal
        Occupational Health Agency Conference, "The Prevention of
        Workplace Violence: A Contemporary Public Health Crisis," San
        Francisco, California, November 30, 1994.

  95.   Dietz PE: "Changes in Workplace Violence: The Increasing
        Standard of Care," Workers' Compensation and Employers'
        Liability Committee, Tort and Insurance Practice Section,
        American Bar Association, San Diego, California, March 18,
        1995.




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  96.   Dietz PE: Keynote Address: "Overview of Workplace Violence
        and Countermeasures," Threat Management Conference, Central
        Intelligence Agency, McLean, Virginia, August 22, 1994.

  97.   Dietz PE: "Unsolicited Communications to Government Officials
        and Agencies: The Need to Report, Assess, and Avoid
        Counterproductive Responses," Threat Management Conference,
        Central Intelligence Agency, McLean, Virginia, August 23, 1994.

  98.   Dietz PE: "Summary of Countermeasures Against Lone
        Assailants," Threat Management Conference, Central Intelligence
        Agency, McLean, Virginia, August 23, 1994.

  99.   Dietz PE: "The Serial Killer," New York State Police Homicide
        Symposium, Albany, New York, September 27, 1994.

 100. Dietz PE, Hazelwood RR: "Criminal Profiling," Association of Trial
      Lawyers of America, National College of Advocacy, Premises
      Liability: Inadequate Security & Violent Crimes seminar, Las
      Vegas, Nevada, October 15, 1994.

 101. Dietz PE: "Managing the Sexual Misconduct Case," Physicians
      Insurers Association of America, San Antonio, Texas, November
      3, 1994.

 102. Dietz PE, McCrary GO: "Offender Profiles and Premises Liability
      Litigation," Premises Liability for Violent Crime Seminar, Defense
      Research Institute, Boston, Massachusetts, May 25, 1995.

 103. Dietz P: Presidential Address: "The Quest for Excellence in
      Forensic Psychiatry," American Academy of Psychiatry and the
      Law, Seattle, Washington, October 19, 1995.

 104. Dietz PE, Harry B: “Serial Killers in Health Care,” Johns Hopkins
      Medical and Surgical Association Biennial Meeting and School of
      Medicine Reunion Weekend, Baltimore, Maryland, June 9, 2001.

 105. Rivard JM, Dietz PE, Martell DM: “Acute Dissociative Responses
      in Law Enforcement Officers,” American Academy of Psychiatry
      and the Law, Boston, Massachusetts, October 25, 2001.

 106. Dietz PE: “The Forensic Psychiatric Evaluation of Andrea Yates,”
      UCLA Annual Review, Los Angeles, California, October 11, 2002.




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 107. Dietz PE: “Workplace Violence Prevention,” College and
      University Professional Association for Human Resources,
      Southwestern Regional Conference, Colorado Springs, Colorado,
      April 29, 2003.

 108. Dietz PE: “Criminal Investigative Analysis (“Profiling”) in Civil
      Litigation,” Association of Trial Lawyers of America, San
      Francisco, California, July 21, 2003.

 109. Pitt SE, Dietz PE, Dvoskin JA, Spiers EM, Walker RP, Kurtis B:
      “Columbine: Understanding Why,” American Academy of
      Psychiatry and the Law, San Antonio, Texas, October 17, 2003

 110. Dietz PE: “Strategies for Understanding and Responding to
      Claims of Post-Traumatic Stress Disorder,” Complex Medicine for
      Trial Lawyers Seminar, Defense Research Institute, Miami,
      Florida, November 13, 2003

 111. Dietz PE: “Pedophile Profile,” Sexual Torts Seminar, Defense
      Research Institute, Chicago, IL, November 14, 2003

 112. Dietz PE: “Assessing Threats of Violence: Posturing or About to
      go Postal?” Pacific Coast Labor & Employment Law Conference,
      Seattle, WA, May 13, 2004

 113. Dietz PE: “Criminal Profiling and Crime Victim Litigation,” The
      National Crime Victim Bar Association, Washington D.C., June
      21, 2005

 114. Dietz PE: “Mentally Competent to Stand Trial,” Col. Henry F.
      Williams Homicide Seminar, Albany, New York, September 20,
      2005.

 115. Dietz PE: “Harassment and Stalking by Psychiatric Patients,”
      Canadian Academy of Psychiatry and Law, Vancouver, Canada,
      November 4, 2005.

 116. Dietz PE: “Violencia criminal en el ámbito familiar,” Congreso
      Psiquiatría Legal XIV Congreso Nacional, Baiona, Spain,
      November 17, 2005.

 117. Dietz PE: “Sex Offenders,” Judge Advocate General’s School 29th
      Criminal Law New Developments Course, Charlottesville, VA,
      November 29, 2005




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 118. Dietz PE: “The Criminal Mind,” The Semel Institute for
      Neuroscience & Human Behavior at UCLA, Los Angeles, CA,
      February 7, 2006

 119. Dietz PE: “Assessing Criminal Behavior,” National Crime Victims’
      Rights Week Conference, Anaheim, CA, April 7, 2006

 120. Dietz PE: “Current Mental Health Issues,” Association of
      Government Attorneys in Capital Litigation’s 27th Annual
      Conference, San Diego, CA, August 5, 2006

 121. Dietz P: “Staff Professional Development Training,” FBI’s
      National Center for the Analysis of Violent Crime, Quantico, VA,
      September 6, 2006

 122. Dietz P: “Violencia en el medio laboral,” XV Congreso Nacional
      de Psiquiatría Legal, Guadalajara, Spain, October 5, 2006

 123. Dietz P: “Criminal Behavior in the Community, the Workplace,
      and the Media,” Fennemore Craig Annual Retreat, October 14,
      2006

 124. Dietz P: “Prevention of Campus Threats and Violence,” National
      Association of College and University Attorneys, San Diego, CA,
      June 29, 2007

 125. Dietz P: “Behavioral Aspects of Notice, Negligence, Causation,
      and Damages in Sexual Misconduct Cases,” Federation Defense
      and Corporate Counsel, Sun Valley, ID, July 27, 2007

 126. Dietz P: “Bullying and the Spectrum of Workplace Misconduct,”
      Employee Assistance Roundtable, San Diego, CA, October 24,
      2007

 127. Dietz P: “The Sexual Tortfeasor: Implications for Litigation and
      Prevention,” Butler Pappas’ Sexual Tort Seminar, Tampa, FL,
      June 26, 2008

 128. Dietz P: “Behavioral Warnings of Attacks on Public Figures and
      Their Families,” Keynote Address, 2008 Executive Security
      International Alumni Conference, Las Vegas, NV, August 9, 2008




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 129. Dietz P: “Current Mental Health Issues,” 2008 Summer
      Conference of the Association of Government Attorneys in
      Capital Litigation, San Francisco, CA, August 30, 2008

 130. Dietz P: “The Role of Forensic Expertise in Capital Crimes
      Litigation,” U.S. Department of Justice, Capital Crimes
      Symposium, Columbia, SC, November 14, 2008

 131. Dietz P: “The Mind: Investigating and Preparing for Mental
      Defenses and Mitigation,” National District Attorneys Association
      Forensic Evidence Course, San Francisco, CA, December 10,
      2008

 132. Dietz P: “Evidence-Based Forensic Psychiatry,” 2nd World
      Thematic Conference on Legal & Forensic Psychiatry, Spanish
      Society of Legal Psychiatry and World Psychiatric Association,
      Toledo, Spain, June 17, 2009

 133. Dietz P: “Evidence-Based Forensic Psychiatry,” American
      Academy of Forensic Sciences, Seattle, WA, February 25, 2010

 134. Dietz P: “New Insights into Columbine,” American Society for
      Adolescent Psychiatry, Los Angeles, CA, March 6, 2010

 135. Dietz P: “Preparing for Mental Defenses,” International Criminal
      Investigative Analysis Fellowship, Myrtle Beach, SC, May 3, 2010

 136. Dietz P: “Dangerous Delusions: When Fans are a Threat,”
      National District Attorneys Association, Napa, CA, July 14, 2010

 137. Dietz P: Keynote Address: “Health Care Workers as Victims of
      Threats and Stalking,” International Association for Healthcare
      Security & Safety and Emergency Nurses Association, UCLA
      Medical Center, Los Angeles, CA, July 26, 2012.

 138. Dietz P: Keynote Address: “Health Care Workers as Victims of
      Threats and Stalking,” International Association for Healthcare
      Security & Safety and Emergency Nurses Association, Stanford
      University Medical Center, Los Angeles, CA, July 27, 2012.

 139. Dietz P: “Unusual Syndromes and Defenses,” National District
      Attorneys Association Homicide Course, San Francisco, CA,
      December 10, 2012.




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 140. Dietz P: “Sexual Sadism: When Lust and Cruelty Merge,” G.
      Stanley Hall Distinguished Lecture in Clinical Psychology, Johns
      Hopkins University, Baltimore, MD, April 24, 2013.

 141. Dietz P: “Interviewing the I-5 Strangler,” American Academy of
      Psychiatry and the Law, Coronado, CA, October 24, 2013.

 142. Dietz P: “Why It Takes So Long to Identify Sex Offenders,”
      Defense Research Institute Sexual Torts Seminar, Coronado, CA,
      November 14, 2013.

 143. Dietz PE: “Preventing Violence in Educational Institutions,” The
      Semel Institute for Neuroscience & Human Behavior at UCLA,
      Los Angeles, CA, December 3, 2013.

 144. Dietz PE: “Sexual Sadism: A Coping Strategy Model,” American
      Academy of Forensic Sciences, Seattle, Washington, February
      21, 2014.

 145. Dietz P: “Inside the Mind of a Killer,” National District Attorneys
      Association Prosecuting Homicide Cases Seminar, San Francisco,
      CA, February 24, 2014.

 146. Dietz P: “Safe from Evil,” American College of Trial Lawyers, La
      Quinta, CA, March 8, 2014.

 147. Dietz P: “Safe from Evil,” Keynote Address, University of
      Pennsylvania Medical Alumni Weekend, May 16, 2014.

 148. Dietz P: “Sexual Thought Crimes,” Keynote Address, Royal
      Australian & New Zealand College of Psychiatrists, Faculty of
      Forensic Psychiatry, Hong Kong, August 14, 2014.

 149. Dietz P: “DSM-5: Changes Impacting Capital Litigation,”
      Association of Government Attorneys in Capital Litigation, San
      Diego, CA, August 23, 2014.

 150. Dietz P: “Emotional Injury Claims and Significant Changes in
      DSM-5," Complex Medicine Seminar, Defense Research Institute,
      San Diego, CA, November 13, 2014.

 151. Dietz P: “Frauds and Other Criminals,” Keynote Address, 26th
      Annual Anti-Fraud Conference, Monterey, CA, April 1, 2015.




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 152. Dietz P: “Inside the Minds of Killers,” National District Attorneys
      Association Forensic Evidence Course, Savannah, GA, December
      8, 2015.

 153. Cohen M, Dietz P, Martell DA: “Resiliency and Trauma: An
      Interdisciplinary Team Approach to the Evaluation of Individuals
      in Mass Tort Cases,” American Academy of Forensic Sciences,
      New Orleans, Louisiana, February 17, 2017.

 154. Dietz P: “Paraphilia and Mental Health: Inside the Mind of the
      Perpetrator,” National District Attorneys Association Prosecuting
      Sexual Assault and Related Crimes Course, Long Beach, CA,
      August 15, 2017.

 155. Dietz P: “Sexual Serial Killers,” National District Attorneys
      Association Prosecuting Sexual Assault and Related Crimes
      Course, Long Beach, CA, August 15, 2017.

 156. Dietz P: Keynote Address: “Mental Health Crises in the
      Workplace: Trends in Private Sector Efforts,” Security Summit:
      Managing Mental Health Crises in the Workplace, Twin Cities
      Security Partnership, Minneapolis, MN, September 20, 2017.

 157. Dietz P: Keynote Address: “Pathways to Violent Extremism,”
      11th Annual Security500, Arlington, VA, November 13, 2017.

 158. Dietz P: “Rebuttal of Mitigation Experts,” Association of
      Government Attorneys in Capital Litigation’s 39th Annual
      Conference, Washington, DC, August 9, 2018.

 159. Dietz P: “Preventing Harm to Your Employees, Guests, and
      Brand,” Foodservice Industry Risk Management Association, Risk
      Management Workshop, Cal State Fullerton, Fullerton, CA, May
      30, 2018.

 160. Dietz P: “Cannibal Cop,” International Criminal Investigative
      Analysis Fellowship, F.B.I. Academy, Quantico, VA, September
      27, 2018.

 161. Dietz P: “Pathways to Extremist Violence,” International
      Criminal Investigative Analysis Fellowship, F.B.I. Academy,
      Quantico, VA, September 27, 2018.




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 162. Dietz P: “Challenges to Threat Assessment and Workplace
      Violence Prevention Programs,” Global Security Executives
      Roundtable, Twitter Headquarters, San Francisco, CA, October 3,
      2018.

 163. Dietz P: “Domestic Violence and the Workplace,” National
      Multidisciplinary Conference On Domestic Violence, National
      District Attorneys Association, Long Beach, CA, October 30,
      2018.

 164. Dietz P: “Domestic Violence Mass Murder,” National
      Multidisciplinary Conference On Domestic Violence, National
      District Attorneys Association, Long Beach, CA, October 30,
      2018.

 165. Dietz P: “Rebutting Mitigation Evidence,” Evidence for
      Prosecutors Course, National District Attorneys Association, San
      Diego, CA, March 26, 2019

 166. Dietz P: “Workplace Violence,” Industrial Environmental
      Association Conference, Coronado, CA, October 1, 2019

 PANEL PRESENTATIONS AT NATIONAL MEETINGS: 2

     1.   Rada RT, Dietz PE, Abel GG, Sadoff RL: "Clinical Aspects of the
          Rapist," American Psychiatric Association, Miami Beach, Florida,
          May 11, 1976.

     2.   Dietz PE, Freeman L, Goldzband MG, Halleck S, Mullany P, Tanay
          E: "The Psychiatrist's Role in Criminal Investigation," American
          Psychiatric Association, Toronto, Ontario, Canada, May 3, 1977.

     3.   Frazier SH, Gaughan CW, Romanowicz J, Gilligan JF, Dietz PE:
          "Corrections, Psychiatry and the Violent Patient," American
          Psychiatric Association, Chicago, Illinois, May 15, 1979.

     4.   Dietz PE, Sadoff RL, Gilligan JF, Borenstein NM, Singer SB:
          "Practical Problems in Forensic Psychiatry," American Psychiatric
          Association, Chicago, Illinois, May 17, 1979.




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     Records from October 1995 to December 2000 are incomplete as a result of a hard-
     drive failure.




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   5.   Ciccone JR, Barry DJ, Cavanaugh JL Jr., Dietz PE, Rada RT,
        Sadoff RL: Workshop on "Teaching Forensic Psychiatry to
        Residents," American Academy of Psychiatry and the Law,
        Baltimore, Maryland, October 27, 1979.

   6.   Dietz PE, Hazelwood RR, Fillinger H, Burgess AW, Groth AN:
        "Autoerotic Deaths," American Academy of Psychiatry and the
        Law, Baltimore, Maryland, October 27, 1979.

   7.   Dietz PE, Labowitz DI, Keefe JF, Issac G, Sadoff RL, Koson DF:
        Seminar on "The Psychiatrist as an Expert Witness," American
        Academy of Forensic Sciences, New Orleans, Louisiana, February
        23, 1980.

   8.   Dietz PE, Wack RC, Howard L, Light D Jr., Steadman HJ:
        "Institutional Structure and Psychiatric Treatment," American
        Psychiatric Association, San Francisco, California, May 8, 1980.

   9.   Robitscher J, Dietz PE, Zagel J: "Resolved: Psychiatrists Should
        Not Participate in the Death Sentence Process," The Great
        Debate, American Academy of Psychiatry and the Law, Chicago,
        Illinois, October 17, 1980.

  10.   Rosner R, Cavanaugh JL Jr., Ciccone JR, Dietz PE, Rappeport JR,
        Sadoff RL, Zonana H: "Fellowship Programs in Forensic
        Psychiatry: Accreditation," American Academy of Psychiatry and
        the Law, Chicago, Illinois, October 18, 1980.

  11.   Reid WH, Barry DJ, Ciccone JR, Halpern A, Dietz PE, Mills MJ:
        "DSM-III in Forensic Psychiatry," American Academy of
        Psychiatry and the Law, Coronado, California, October 17, 1981.

  12.   Rosner RR, Barry DJ, Bradford JMW, Pollack S, Rappeport JR,
        Dietz PE, Resnick PJ, Weiner B: "Fellowship Programs in
        Forensic Psychiatry: Accreditation II," American Academy of
        Psychiatry and the Law, Coronado, California, October 18, 1981.

  13.   Harry B, Dietz PE, Hazelwood RR: "Bloody Instructions:
        Intolerable Crimes in Mass Market Magazines," American
        Academy of Psychiatry and the Law, New York, New York,
        October 24, 1982.

  14.   Zwerling I, Watson U, Harding G, Dietz PE, Lymberis M, Sadoff
        RL: "The Abuse and Misuse of Psychiatry in the United States,"




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        American Psychiatric Association, New York, New York, May 3,
        1983.

  15.   Showalter CR, Bonnie RJ, Dietz PE: "Psychiatric Participation in
        the Capital Sentencing Process," American Academy of
        Psychiatry and the Law, Portland, Oregon, October 29, 1983.

  16.   Harry BE, Dietz PE, Hucker SJ: "Clinical Criminology as a
        Practice Paradigm in Forensic Psychiatry," American Academy of
        Psychiatry and the Law, Portland, Oregon, October 30, 1983.

  17.   Miller RD, Dietz PE, Morrison HL, Sadoff RL: "Harassment of
        Psychiatric Expert Witnesses," American Academy of Psychiatry
        and the Law, Nassau, Bahamas, October 26, 1984.

  18.   Rappeport JR, Dietz PE, Basham O: "Trends in the Standards for
        the Insanity Defense (Including the Comprehensive Crime
        Control Act of 1984)," AMEDD Forensic Psychiatry Course, Walter
        Reed Army Medical Center, Bethesda, Maryland, April 2, 1985.

  19.   Carparelli R, Rappeport JR, Dietz PE, Taylor VE, Thwing JB:
        "Mock Trial," AMEDD Forensic Psychiatry Course, Walter Reed
        Army Medical Center, Bethesda, Maryland, April 2, 1985.

  20.   Fitch WL, Dietz PE, Deitz SR, Showalter CR, Solomon MA:
        "Forensic Reform Through Statewide Training," American
        Academy of Psychiatry and the Law, Albuquerque, New Mexico,
        October 11, 1985.

  21.   Labowitz DI, Dietz PE, Farr W, Flaherty NS, Froede RC, Green
        DeAH: "Media Relations for the Forensic Scientist," American
        Academy of Forensic Sciences, San Diego, California, February
        17, 1987.

  22.   Hazelwood RR, Lanning K, Dietz PE: "Criminal Sexuality," a 3-
        hour nationwide law enforcement teleconference sponsored by
        the F.B.I. and the Kansas City Police Department, September 29,
        1987.

  23.   Resnick PJ, Rosman J, Dietz PE, Hucker S: "Necrophilia, Murder
        and Insanity," American Academy of Psychiatry and the Law,
        Ottawa, Ontario, Canada, October 16, 1987.




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  24.   Kalt JP, Dietz PE, Cox JE Jr.: Economics and the Environment:
        New Challenges for Business and the Media," FORTUNE Magazine
        Corporate Communications Seminar, La Quinta, California, March
        22, 1988.

  25.   Adelman R, Dietz PE: "Interaction Between Psychiatry and Law,"
        American Bar Association Appellate Judges Seminar Series, St.
        Louis, Missouri, May 25, 1988.

  26.   Dietz PE, Hazelwood RR, Warren JI: "The Psychopathic Sexual
        Sadist," Academy of Criminal Justice Sciences, Washington,
        D.C., March 29, 1989.

  27.   Adelman R, Dietz PE: "Interaction Between Psychiatry and the
        Law," American Bar Association 1989 Appellate Judges Seminar,
        Lake Tahoe, Nevada, August 22, 1989.

  28.   Eaton JT, Davidson KL, Novoselsky DA, Reese WS, Lane FA,
        Dietz PE, Steffan TL, McMorrow MA, Quinlan WR: "Liability of
        Not-for-Profit Youth Organizations for Sexual Misconduct by
        Adult Volunteers of Minors," Appellate Advocacy Committee and
        Employer-Employee Relations Committee, American Bar
        Association Annual Meeting, Chicago, Illinois, August 8, 1990.

  29.   Harpold J, Wells D, Wells K, Dietz PE: "Victims Surviving Violent
        Crimes," National Organization for Victim Assistance, Anaheim,
        California, August 12, 1991.

  30.   Lanning K, Dietz PE, Ressler R: Discussion of "Silence of the
        Lambs," American Academy of Psychiatry and the Law, Lake
        Buena Vista, Florida, October 17, 1991.

  31.   Oliver AD, Binder RL, Dietz PE, Markman RA: "Ethical Dilemmas
        in Forensic Practice," American Academy of Psychiatry and the
        Law, Lake Buena Vista, Florida, October 18, 1991.

  32.   Kausch O, Resnick PJ, Dietz PE, Berlin FS, Fosdal FA, Wahlstrom
        CM Jr.: "Jeffrey Dahmer: Sick or Sane or Both?" American
        Academy of Psychiatry and the Law, Boston, Massachusetts,
        October 15, 1992.

  33.   Corcoran WB, Dietz PE, Lombardi JH, Thompson JD, Wolf KL,
        Wright JL: "Workplace Violence: Strategies to Communicate,"




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        American Society for Industrial Security, Tempe, Arizona, March
        1, 1994.

  34.   Hempel AG, Felthous AR, Dietz PE, Tardiff K, Ostrov E:
        "Assessing Dangerousness: A Case Report of a Hostage-Taking
        Patient," American Academy of Psychiatry and the Law, Maui,
        Hawaii, October 20, 1994.

 35.    Rand JA, Meloy JR, Ash P, Dietz PE, Crowder JD: "The Stalking
        Syndrome of Pathological Attachments," American Academy of
        Psychiatry and the Law, Maui, Hawaii, October 22, 1994.

 36.    Wettstein RM, Dietz P: "Peer Review of Expert Psychiatric
        Testimony," American Academy of Psychiatry and the Law,
        Seattle, Washington, October 19, 1995.

 37.    Gutheil TG, Dietz P, Beahrs JO, Moen S, Roe R: "Mock Trial: No
        Thanks for the Memories," American Academy of Psychiatry and
        the Law, Seattle, Washington, October 19, 1995.

 38.    Dietz P: “The Quest for Excellence In Forensic Psychiatry,”
        American Academy of Psychiatry and the Law, Seattle,
        Washington, October 19, 1995.

 39.    Simon RI, Rappeport JR, Gutheil TG, Dietz P, Tanay E:
        "Traveling Smart: Forensic Psychiatrists on the Road," American
        Academy of Psychiatry and the Law, Seattle, Washington,
        October 21, 1995.

 40.    Dietz PD, Adelman R, Murray MT, Maginnis JP, Pasano MS: "The
        use and Abuse of Psychiatric and Psychological Evidence in
        Criminal Cases," American Bar Association, San Francisco,
        California, August 2, 1997.

 41.    Resnick PJ, Ciccone JR, Sadoff RL, Dietz PE, Bozievich CA: “The
        Insanity Trial of John Dupont,” American Academy of Psychiatry
        and the Law, Denver, Colorado, October 23, 1997.

 42.    Pitt SE, Phillips RTM, DePrato DK, Dietz PE, Anfang SE:
        “Forensic Psychiatry and the Media,” American Academy of
        Psychiatry and the Law, Denver, Colorado, October 24, 1997.




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 43.    Phillips RTM, Dietz PE: “Consulting to Law Enforcement,”
        American Academy of Psychiatry and the Law, Vancouver, B.C.,
        Canada, October 20, 2000.

 44.    Dvoskin, J, Baden M, Dietz P: “The Intent of the Decedent:
        Determining Manner of Death in Equivocal Cases,” American
        Academy of Psychiatry and the Law, Vancouver, B.C., Canada,
        October 21, 2000.

 45.    Burns C, Phillips R, McGee J, Romano S, Dietz P: “The Role of
        Mental Health Professionals in Hostage Negotiation,” American
        Academy of Psychiatry and the Law, Boston, Massachusetts,
        October 27, 2001.

 46.    Resnick P, Dietz P: “The Andrea Yates Insanity Trial,” American
        Academy of Psychiatry and the Law, Newport Beach, CA, October
        26, 2002.

 47.    Dietz PE, Emanuel W, Drucker J, Hajjar A: “Threat Assessments
        in the Union Shop: Thorny Problems, Practical Solutions,” Pacific
        Coast Labor & Employment Law Conference, Seattle, WA, May
        13, 2004.

 48.    Dietz PE, Gripon EB, Resnick PJ, Reid WH, Kent CS: “Maternal
        Filicide in Texas,” American Academy of Psychiatry and the Law,
        Scottsdale, AZ, October 21, 2004.

 49.    Dietz PE, Pitt SE, Dvoskin JA, Spiers EM: “The Importance of
        Video Recording Forensic Examinations,” American Academy of
        Psychiatry and the Law, Scottsdale, AZ, October 22, 2004.

 50.    Dietz PE: “Threat Assessment: Past, Present and Future”
        (Keynote Address), Association of Threat Assessment
        Professionals, Anaheim, CA, August 16, 2006.

 51.    Johnson SC, O’Shaughnessy RJ, Schetsky DH, Dietz PE:
        “Juvenile Murderers Grow Up: Challenges and Dispositions,”
        American Academy of Psychiatry and the Law, Chicago, IL,
        October 26, 2006.

 52.    Bingham M, Bradley J, Dedman JM, Dietz PE, Galvin M: “Experts
        – When and Why,” National District Attorneys Association
        Summer Conference, Portland, OR, August 1, 2007.




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 53.      Newman A, Dietz P, Carpenter WT Jr, Adelman RM, Phillips RTM:
          “The Trial of John W. Hinckley, Jr.: A Retrospective,” American
          Academy of Psychiatry and the Law, Baltimore, MD, October 29,
          2009.

 54.      Restivo K, Nelson EM, Dietz P, Nicholson C: “Threat Assessment
          in the Medical School Environment,” Association of American
          Medical Colleges, Western Regional Conference, May 7, 2013.

 55.      Stoneking L, Kambam P, Thompson CR, Dietz P: “School Mass
          Shootings,” American Academy of Psychiatry and the Law,
          Coronado, CA, October 25, 2013.

 56.      Bradford J, Dietz P, Mullen P, Ogloff JRP: “The Personal Impact
          of Working on Sex Crimes,” Royal Australian & New Zealand
          College of Psychiatrists, Faculty of Forensic Psychiatry, Hong
          Kong, August 14, 2014.

 57.      Dietz P, et al.: “Managing, Reducing, and Preventing Fear of
          Violence,” National Academies of Sciences, Engineering, and
          Medicine, Virtual Platform, July 21, 2020.

 58.      Knoll JL IV, Fisher KL, Dietz P: “Performance Crimes & Social
          Media,” American Academy of Psychiatry and the Law, Virtual
          Annual Meeting, October 24, 2020.

 OTHER LECTURE SITES (CORPORATE, REGIONAL, AND LOCAL): 3

     Abbott Laboratories
     Annenberg Washington Program, Northwestern University
     ARCO
     Arkansas Psychiatric Society
     Association of Government Attorneys in Capital Litigation
     Association of Trial Lawyers of America
     Atascadero Forensic Mental Health Center, Atascadero, California
     Atlanta Federal Penitentiary, U.S Bureau of Prisons
     Augusta Mental Health Institute, Augusta, Maine
     California Association of Hostage Negotiators
     California District Attorneys Association
     California District Attorneys Association National Homicide
      Symposium
     Central Intelligence Agency

 3
     Records for 1995-2001 are incomplete as a result of a hard-drive failure.




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   Charlottesville-Albemarle Bar Association, Virginia
   Charter Hospital, Long Beach, California
   Charter Westbrook Hospital, Virginia Beach, Virginia
   Chesapeake Bay Chapter, American Academy of Psychiatry and the
     Law
   Chesapeake Bay Chapter, Institute of Food Technology
   Children's Institute International
   Conference of Major Superiors of Men
   Conference of Personal Managers
   Cornell University
   County Prosecutors Association of New Jersey
   Defense Research Institute
   Dow Chemical Company Corporate Headquarters
   F.B.I. Academy
   F.B.I. Field Office, Los Angeles
   Focus on the Family, Inc.
   Forensic Mental Health Association of California
   Georgetown University, Department of Psychiatry
   Harbor-UCLA Medical Center
   Harrisburg State Hospital, Harrisburg, Pennsylvania
   Harvard Medical School, Massachusetts General Hospital
   Harvard Medical School, Massachusetts Mental Health Center
   Harvard School of Public Health
   Hawaii State Hospital
   Hawaii State Law Enforcement Officials Association
   I.B.M. Corporate Headquarters
   Johns Hopkins University, Department of Sociology
   Johns Hopkins University, School of Hygiene and Public Health
   Kansas County and District Attorneys Association
   Kirby Forensic Psychiatric Center, Ward's Island, New York
   Kraft General Foods Special Situation Roundtable, Chicago
   Kraft General Foods Special Situation Roundtable, San Francisco
   Kraft, Inc., Corporate Headquarters
   Law Enforcement Coordinating Committee, Florida
   Law Enforcement Coordinating Committee, Hawaii
   Law Enforcement Coordinating Committee, New Jersey
   Law Enforcement Coordinating Committee, Texas
   Los Angeles Criminal Justice Inns of Court
   Los Angeles Police Department Threat Management Unit
   Louisiana District Attorneys Association
   Medical College of Virginia, Department of Legal Medicine
   Minnesota Employment Law Counsel
   Minnesota State Bar Association Criminal Justice Institute
   Minnesota State Bar Association Employment Law Institute




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   National College of District Attorneys
   National Institute of Drug Abuse Research Center
   Newport Beach (CA) Police Department
   North Texas District Attorneys
   Office of the District Attorney, County of Fresno, California
   Orange County Bar Association
   Orange County Bar Association Employment Law Section
   Orange County District Attorney’s Office
   Orange County Homicide Investigators Association
   Orange County Inns of Court
   Packaging Institute International
   Paramount Studios
   Prosecuting Attorneys' Council of Georgia
   Richmond Psychiatric Society
   Robert Presley Institute of Criminal Investigation
   San Diego Psychiatric Society
   South Beach Psychiatric Center, New York, New York
   Southern California Chapter, American Academy of Psychiatry and
    the Law
   Southeastern Prosecutors Institute
   Space Coast Institute of Legal Medicine, Orlando, Florida
   Saint John's Hospital and Health Center, Santa Monica, California
   St. Louis University School of Medicine, Department of Pathology,
    Division of Forensic and Environmental Pathology
   State Bar of California
   Target
   Texas District & County Attorneys Association
   Tulane University School of Public Health
   United States Secret Service, Intelligence Division
   United States Department of Justice
   University of Arkansas for Medical Sciences
   University of California, Irvine, Program in Psychology and Law
   University of California, Irvine, Program in Social Ecology
   University of California, Irvine, School of Law
   University of California, Irvine, School of Medicine
   University of California, Los Angeles, School of Medicine
   University of California, San Diego, School of Medicine
   University of Hawaii, John A. Burns School of Medicine
   University of Ottawa, Royal Ottawa Hospital
   University of Pennsylvania, Center for Studies in Criminology and
    Criminal Law
   University of Texas Southwestern Medical School, Department of
    Psychiatry
   University of Toronto, Clarke Institute




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   University of Vermont School of Medicine
   University of Virginia Department of Psychology
   University of Virginia School of Law
   University of Wisconsin
   Virginia Association of Law Libraries
   Washington Association of Prosecuting Attorneys
   West Los Angeles Veterans Administration Hospital
   Westbrook Hospital, Richmond, Virginia
   Western State Hospital, Staunton, Virginia
   George Weston, Ltd., Corporate Headquarters
   G. N. Wilcox Memorial Hospital, Lihue, Hawaii
   Women’s Jonathan Club, Los Angeles, CA
   Zausner Foods

 TEACHING EXPERIENCE:

   1974-1975          "Applications of Sociology to Clinical Medicine," a 27-
                      hour course for 18 freshman medical students, at the
                      Johns Hopkins University School of Medicine (with
                      Daryl Matthews, M.D.)

   1976-1977          Small group instruction on the mental status
                      examination and on principles of psychiatric
                      interviewing for medical students at Johns Hopkins
                      University
   1976               "Issues in Medical Criminology," a tutorial for students
                      at the Johns Hopkins University

   1976-1977          Supervisor and medical consultant to non-physician
                      psychotherapists, Psychiatric Outpatient Department,
                      Johns Hopkins Hospital

   1977-1978          Organized and lectured in "Topics in Forensic
                      Psychiatry" and "Center for Studies in Social-Legal
                      Psychiatry Seminar Series," University of Pennsylvania

   1978-1979          "Reading Seminar in General Criminology," Medical
                      Criminology Research Center, McLean Hospital

   1978-1981          "The Legal Regulation of Psychiatric Practice," a course
                      directed by Robert L. Sadoff, M.D., at the Annual
                      Meetings of the American Psychiatric Association




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   1979-1980          "Forensic Psychiatry," a 12-session seminar for
                      residents at the McLean Hospital (with Arthur
                      Rosenberg, J.D.)

   1979-1981          Small group instruction on forensic psychiatry and on
                      sexual deviations and offenses for Harvard medical
                      students

   1979-1981          Organized "Faculty Seminar in Forensic Psychiatry,"
                      Harvard Medical School

   1981               Lectures on forensic psychiatry for the Social
                      Psychiatry Seminar for residents at McLean Hospital

   1981               Organized "Clerkship in Social Medicine and Psychiatric
                      Criminology," Department of Social Medicine and
                      Health Policy, Harvard Medical School (with Wendy K.
                      Mariner, J.D., M.P.H.)

   1981               "Forensic Practice in Massachusetts," a seminar for
                      trainees at Harvard teaching hospitals

   1981               Organized and taught in Human Aggression Unit of
                      "Behavioral Sciences in Medicine" (Psychiatry 700a),
                      Harvard Medical School

   1981-1982          "Scientific Foundations of Clinical Criminology," a 12-
                      session seminar for trainees and faculty of Harvard
                      teaching hospitals

   1982               "Law, Psychiatry and the Mental Health Process,"
                      University of Virginia School of Law (with John
                      Monahan, Ph.D., and C. Robert Showalter, M.D.)

   1982-1988          "Psychiatry and Criminal Law" (with Elizabeth S. Scott,
                      J.D., or W. Lawrence Fitch, J.D.)

   1982-1988          Teaching and supervision of Fellows in Forensic
                      Psychiatry, University of Virginia School of Medicine

   1983               "Sociology of Psychiatry," a seminar for residents in
                      the Department of Behavioral Medicine and Psychiatry,
                      University of Virginia School of Medicine




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   1983               "Law and Medicine," University of Virginia School of
                      Law (with Walter J. Wadlington, LL.B., and Kenneth R.
                      Crispell, M.D.)

   1983-1986          "Law and Psychiatry," University of Virginia School of
                      Law (with Willis Spaulding, J.D.)

   1984-1986          "Crimes of Violence," University of Virginia School of
                      Law

   1985               Directed "Mental Disability Benefits," a course at the
                      Annual Meeting of the American Psychiatric
                      Association, Dallas, Texas, May 21, 1985

   1985               Directed "Mental Impairment Subsequent to Psychic
                      Trauma," a course at the Annual Meeting of the
                      American Academy of Psychiatry and the Law,
                      Albuquerque, New Mexico, October 11, 1985

   1986               Directed "Mental Disability Benefits," a course at the
                      Annual Meeting of the American Psychiatric
                      Association, Washington, D.C., May 14, 1986

   1986               "Selected Competency Issues," a course directed by
                      W. Lawrence Fitch, J.D., at the Annual Meeting of the
                      American Academy of Psychiatry and the Law,
                      Philadelphia, Pennsylvania, October 18, 1986

   1986               Directed "Mental Impairment Subsequent to Psychic
                      Trauma," a course at the Annual Meeting of the
                      American Academy of Psychiatry and the Law,
                      Philadelphia, Pennsylvania, October 19, 1986

   1987               "Law and Public Health," University of Virginia School
                      of Law (with Richard J. Bonnie, LL.B.)

   1987               Directed "Mental Impairment Subsequent to Psychic
                      Trauma," a course at the Annual Meeting of the
                      American Academy of Psychiatry and the Law, Ottawa,
                      Ontario, Canada, October 17, 1987

   1986-87            Organized and directed weekly Forensic Psychiatry
                      Teaching Rounds, University of Virginia School of
                      Medicine




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   1988               "Health and Safety Regulation," University of Virginia
                      School of Law (with Richard J. Bonnie, LL.B.)

   1988               "Criminal Behavior and Public Policy," University of
                      Virginia School of Law

   1989               "Symposium at the National Center for the Analysis of
                      Violent Crime," a course for the Annual Meeting of the
                      American Academy of Psychiatry and the Law, October
                      19, 1989, held at the F.B.I. Academy, Quantico, VA
                      (organized with SSA Robert K. Ressler and Richard
                      Ratner, M.D.)

   1990 -             Teaching and supervision of Fellows in Forensic
                      Psychiatry, Fellows in Child Psychiatry, and Residents,
                      UCLA School of Medicine

   1994               "Behavioral Aspects of Crime Investigation for Criminal
                      and Civil Litigation," a course at the Annual Meeting of
                      the American Academy of Forensic Sciences, San
                      Antonio, TX, February 15, 1994 (with Robert K.
                      Ressler).

   2005                “Forensic Evaluation and Expert Testimony in Criminal
                       Cases,” a course for the Atlanta Federal Penitentiary,
                       U.S. Bureau of Prisons, Atlanta, GA, June 23, 2005.

   2009                “The Use of Forensic Mental Health Experts in the
                       Investigation and Prosecution of Sex Crimes and
                       Violent Crimes,” a course for the Maricopa County
                       District Attorney’s Office and invited Arizona law
                       enforcement agencies, Phoenix, AZ, February 6, 2009

   2010                “PTSD and Other Mental Damages Claims,” a seminar
                       for claims managers and defense counsel, Farmers
                       Insurance Group, Agoura Hills, CA, June 20, 2010
                       (with Dan White, Esq., and Susan Oliver, Esq.)

   2014                “Sexual Sadism and Sexual Masochism,” a course for
                       the Royal Australian & New Zealand College of
                       Psychiatrists, Faculty of Forensic Psychiatry, Hong
                       Kong, August 12, 2014




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 THREAT ASSESSMENT GROUP® WORKPLACE VIOLENCE
 PREVENTION TRAINING PACKAGES, VIDEOS, AND E-LEARNING
 COURSES SCRIPTED BY DR. DIETZ:

   1995         Supporting a Nonviolent Workplace: A Training Program
                for Managers and Supervisors (with Sheryl Niebuhr, Ph.D.,
                a facilitated training program developed for 3M Company),
                and later editions thereof

   1999         Gatekeeper Safety: How to Deal with Unwanted Letters,
                Calls and Visits (training video with Ann Coppel for Safeco
                Corporation)

   2003          Managing Troubled Employees (training video)

   2003          Managing Troubling Situations (training video)

   2003         Your Role in Workplace Violence Prevention (training
                video)

   2015         Principles of Workplace Violence Prevention (training
                video)

   2015          Investigation (training video)

   2015         Assessing and Managing Workplace Threats (training
                video)

   2015         Intimate Partner Violence and the Workplace (training
                video)

   2015          Stalking (training video)

   2015          Cyberstalking and Related Misconduct (training video)

   2015         Life Stress, Personality Disorder, and Substance Abuse
                (training video)

   2015          Mental Illnesses and Suicide Prevention (training video)

   2015          Safe Termination (training video)

   2015          Problematic Former Employees (training video)




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   2015         Managing Unwanted Communications and Visits (training
                video)

   2015          Preparing for Active Shooter Incidents (training video)

   2015          Managing Troubled People (training video)

   2015          Managing Troubling Situations (training video)

   2015          Introduction to Violence Prevention (training video)

   2015          Interviewing (training video with William Irwin (FBI, ret.))

   2015         Managing Unwanted Communications and Visits (training
                video)

   2015          Active Shooter Response (training video)

   2015         Your Role in Workplace Violence Prevention (training
                video)

   2015         Gatekeeper Safety: How to Deal with Unwanted Writings,
                Calls and Visits (training video)

   2017         Principles of Workplace Violence Prevention (e-learning
                course)

   2017          Investigation (e-learning course)

   2017         Assessing and Managing Workplace Threats (e-learning
                course)

   2017         Intimate Partner Violence and the Workplace (e-learning
                course)

   2017          Stalking (e-learning course)

   2017          Cyberstalking and Related Misconduct (e-learning course)

   2017         Life Stress, Personality Disorder, and Substance Abuse (e-
                learning course)

   2017         Mental Illnesses and Suicide Prevention (e-learning
                course)




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   2017          Safe Termination (e-learning course)

   2017          Problematic Former Employees (e-learning course)

   2017         Managing Unwanted Communications and Visits (e-
                learning course)

   2017          Preparing for an Armed Attack (e-learning course)

   2017          Managing Troubled People (e-learning course)

   2017          Managing Troubling Situations (e-learning course)

   2017          Responding to an Armed Attack (e-learning course)

   2017         Your Role in Workplace Violence Prevention (e-learning
                course)

   2017         Gatekeeper Safety: How to Deal with Unwanted Writings,
                Calls and Visits (e-learning course)

   2019          Managing Troubled People (e-learning course)

   2019          Managing Troubling Situations (e-learning course)

   2019          Responding to an Armed Attack (e-learning course)

   2019         Your Role in Workplace Violence Prevention (e-learning
                course)

   2019         Gatekeeper Safety: How to Deal with Unwanted Writings,
                Calls and Visits (e-learning course)

   2020          Staying Safe During Protests (video)

   2020          Domestic Violence (e-learning course)




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 THREAT ASSESSMENT GROUP® WORKPLACE VIOLENCE
 PREVENTION COURSES TAUGHT BY DR. DIETZ: 4

          “Workplace Violence: Myths, Facts, and Corporate Prevention,”
          Newport Beach, CA, December 16-18, 1993

          Whirlpool, Nashville, TN, March 22, 1994

          “Workplace Violence II: An Intensive Course Designed for
          Fortune 500 Companies,” Newport Beach, CA, April 28-30, 1994

          Motorola, Phoenix, AZ, May 1, 1994

          Bankers Trust, New York, NY, June 14, 1994

          Motorola, Phoenix, AZ, July 8, 1994

          General Electric, Ossining, NY, July 14-15, 1994

          Temple Inland, Irving, TX, August 17-19, 1994

          Boise Cascade, Boise, ID, September 12-13, 1994

          Sea World, San Diego, CA, September 19-20, 1994
          First Bank System, Minneapolis, MN, September 28, 1994

          IDS Financial Services, Minneapolis, MN, September 29, 1994

          Norwest, Minneapolis, MN, September 30, 1994

          Warner-Lambert, Hamilton Park, NJ, October 11-12, 1994

          Kraft, Northbrook, IL, November 28-29, 1994

          3M Company, St. Paul, MN, December 2, 1994

          Kraft, Northbrook, IL, December 9, 1994

          American Express, New York, NY, December 14, 1994

 4
     Courses at specific companies and universities include various courses for
     executives and senior management. This list does not include courses designed by
     Dr. Dietz and taught by other TAG experts under Dr. Dietz’s supervision, all of
     which are listed in the TAG Master Training document.




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         American Express, New York, NY, January 24-26, 1995

         Motorola (EAP), Chicago, IL, April 6, 1995

         “Workplace Violence III: An Intensive Course Designed for
         Fortune 500 Companies and Selected Private and Government
         Organizations,” Newport Beach, CA, April 24-26, 1995

         Boise Cascade, Boise, ID, May 2-5, 1995

         Philip Morris, Tucker's Town, Bermuda, May 10, 1995

         First Data, Denver, CO, June 8-9, 1995

         Corning, Inc., Corning, NY, June 14-15, 1995

         GE Capital, Stamford, CT, June 20, 1995

         3M Company, Monticello, MN, July 20-21, 1995

         National Semiconductor, Sunnyvale, CA, August 22, 1995

         American Express, Chaska, MN, September 12-13, 1995

         Motorola, Phoenix, AZ, November 6-10, 1995

         Motorola, Schaumburg, IL, November 27-28, 1995

         Williams Companies, Tulsa, OK, December 12-13, 1995

         First Data, Omaha, NE, March 11-12, 1996

         First Data, Omaha, NE, March 25-26, 1996

         Williams Companies, Tulsa, OK, April 1-2, 1996

         General Mills, Minneapolis, MN, April 10-11, 1996

         “Workplace Violence 4: An Intensive Course Designed for
         Fortune 500 Companies and Selected Private and Government
         Organizations,” Newport Beach, CA, April 24-26, 1996

         American Express, Greensboro, NC, May 23, 1996




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         Johnson & Johnson, New Brunswick, NJ, May 28-29, 1996

         American Express, Phoenix, AZ, June 13, 1996

         Virco Manufacturing, Torrance, CA, July 29-30, 1996

         3M Company, Minneapolis, MN, August 1, 1996

         Mead Corp, Dayton, OH, Sept. 18-19, 1996

         Federated Dept. Stores, Inc., Cincinnati, OH, December 2, 1996

         American Express, New York, NY, December 3, 1996

         Philip Morris, New York, NY, December 12-13, 1996

         Mead Corporation, Dayton, OH, February 20, 1997

         McDonnell-Douglas, Long Beach, CA, Feb. 24-28, 1997

         3M Company, Minneapolis, MN, March 4-7, 1997

         “Workplace Violence 5: An Intensive Course Designed for
         Fortune 500 Companies and Selected Private and Government
         Organizations,” Newport Beach, CA, April 16-18, 1997

         American Express, Ft. Lauderdale, FL, May 14, 1997

         Motorola, Schaumburg, IL, June 17-18, 1997

         Sears Canada, Toronto, Ontario, Canada, July 14-15, 1997

         Levi Strauss, San Francisco, CA, August 12, 1997

         U.S. West, Inc., Denver, CO, August 21, 1997

         Federated Dept. Stores, San Francisco, CA, August 25-26, 1997

         3M Company, St. Paul, MN, August 28, 1997

         Corning, Inc., Corning, NY, October 30, 1997

         New York Times, New York, NY, November 4-5, 1997




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         Motorola, Schaumburg, IL, November 11, 1997

         State Farm, Costa Mesa, CA, November 17-18, 1997

         Levi Strauss, San Francisco, CA, November 20-21, 1997

         U.A.W.-Chrysler, Detroit, MI, January 13, 1998

         U.S. West, Inc., Denver, CO, January 14-15, 1998

         Sears Canada, Toronto, Ontario, Canada, February 2-3, 1998

         Visa International, Foster City, CA, March 10-11, 1998

         Motorola, Chicago, IL, March 23-25, 1998

         “Workplace Violence 6: An Intensive Course Designed for
         Fortune 500 Companies and Selected Private and Government
         Organizations,” Newport Beach, CA, April 27-29, 1998

         Union Carbide, Houston, TX, May 19, 1998

         Retail Council/Sears Canada, Toronto, Ontario, Canada, June 2,
         1998

         Unilever United States, New York, NY, June 18, 1998

         Punch Productions, New York, NY, June 18, 1998

         Federated Department Stores, Hasbrouck Heights, NJ, July 15-
         16, 1998

         U.A.W.-Chrysler, Detroit, MI, August 3-5, 1998

         Caterpillar, Peoria, IL, August 10-11, 1998

         Levi Strauss, San Francisco, CA, September 9, 1998

         American Express, Newark, NJ, October 20-21, 1998

         Eastman Kodak, Rochester, NY, November 17-18, 1998

         Amgen, Thousand Oaks, CA, December 1-3, 1998




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         Darden Restaurant Group, Orlando, FL, December 14-15, 1998

         3M Company, St. Paul, MN, December 16, 1998 MediaOne,
         Denver, CO, January 13, 1999

         Texas Instruments, Dallas, TX, January 14-15, 1999

         Caterpillar, Newport Beach, CA, January 18-19, 1999

         Safeco, Seattle, WA, February 3-4, 1999

         Zoological Society of San Diego, San Diego, CA, February 18-19,
         1999

         American Express, Toronto, Ontario, Canada, February 23, 1999

         Zoological Society of San Diego, San Diego, CA, April 7, 1999

         “Workplace Violence 7: An Intensive Course Designed for
         Fortune 500 Companies and Selected Private and Government
         Organizations,” Newport Beach, CA, April 26-28, 1999

         MediaOne, Denver, CO, June 24-25, 1999

         Ross Stores, Palo Alto, CA, July 8, 1999

         PCS Health Systems, Scottsdale, AZ, July 16, 1999

         Wellpoint, Thousand Oaks, CA, July 22-23, 1999

         Corning, Inc., Corning, NY, September 23 1999

         Motorola, Madrid, Spain, October 4-5, 1999

         3M Company, St. Paul, MN, October 14, 1999

         Schering-Plough, Newark, NJ, October 21-22, 1999

         Boise-Cascade, Newport Beach, CA, October 29, 1999

         Motorola, Hong Kong, China, November 16-17, 1999

         PSE&G, Edison, NJ, November 30, 1999




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         Cox Enterprises, Atlanta, GA, January 25, 2000

         Federated Department Stores (Rich's, Lazarus, Goldsmith),
         Atlanta, GA, January 26-27, 2000

         Federated Department Stores (FACS), Cincinnati, OH, February
         8-9, 2000

         Oracle, Redwood Shores, CA, February 23, 2000

         PaineWebber, Weehawken, NJ, March 7, 2000

         Federated Department Stores (Macy’s East), New York, NY,
         March 23-24, 2000

         Federated Department Stores (Bon Marche), Seattle, WA, April
         3-4, 2000

         “Workplace Violence 8: An Intensive Course Designed for
         Fortune 500 Companies and Selected Private and Government
         Organizations,” Newport Beach, CA, April 10-12, 2000

         Motorola, Oak Brooks Hills, IL, April 25-26, 2000

         U.A.W.-DaimlerChrysler, Detroit, MI, May 2-4, 2000

         Federated Department Stores (Burdine’s), Miami, FL, May 16-17,
         2000

         Motorola, Mesa, AZ, June 1-2, 2000

         American Express, Greensboro, NC, June 14, 2000

         Federated Department Stores (Bloomingdale’s), New York, NY,
         June 15-16, 2000

         Mead Corporation, Dayton, OH, July 11-12, 2000

         Organization Resource Counselors (Corporate Medical Directors),
         Washington, DC, August 1, 2000




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         “Workplace Violence 8 East: An Intensive Course Designed for
         Fortune 500 Companies and Selected Private and Government
         Organizations,” New York, NY, October 2-4, 2000

         “Investigation, Interviewing, and Termination,” New York, NY,
         October 5-6, 2000

         PaineWebber, Weehawken, NJ, December 12-14, 2000

         American Express, Phoenix, AZ, February 20, 2001

         “Workplace Violence 9: An Intensive Course Designed for
         Fortune 500 Companies and Selected Private and Government
         Organizations,” Newport Beach, CA, April 23-25, 2001

         Thomson Legal & Regulatory, Egan, MN, April 15-16, 2001

         Chiron Corporation, Emeryville, CA, May 31, 2001

         Allergan, Inc., Irvine, CA, June 5, 2001

         AT&T Broadband, Englewood, CO, June 14, 2001 Jefferson
         County, Colorado, Golden, CO, June 15, 2001

         Federated Department Stores (Arizona Mail Order), Tucson, AZ,
         June 19-20, 2001

         Corning, Inc., Corning, NY, September 11, 2001

         Federated Department Stores (Federated Marketing Group), New
         York, NY, November 15-16, 2001

         PaineWebber, Weehawken, NJ, November 19-20, 2001

         “Workplace Violence 10: An Intensive Course Designed for
         Fortune 500 Companies and Selected Private and Government
         Organizations,” Newport Beach, CA, April 15-17, 2002

         Tribune Company, Chicago, IL, May 15, 2002

         Caterpillar, Peoria, IL, May 20-21, 2002

         Tribune Company, Chicago, IL, September 11, 2002




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         “Workplace Violence 10 East,” Toronto, Ontario, Canada,
         November 7-8, 2002

         3M Company, St. Paul, MN, November 11-12, 2002

         Raytheon, Bedford, MA, December 3-4, 2002

         Discover Financial, Chicago, IL, February 10-11, 2003

         Federated Department Stores (Federated Marketing Group), New
         York, NY, March 25-26, 2003

         Tribune Company, Chicago, IL, April 2-3, 2003

         “Workplace Violence 11: An Intensive Course Designed for
         Fortune 500 Companies and Selected Private and Government
         Organizations,” Newport Beach, CA, April 7-9, 2003

         Takeda Pharmaceuticals NA, Lincolnshire, IL, September 4-5,
         2003

         Business Intelligence Advisors, Bellevue, WA, September 11,
         2003

         Charter One Bank, Cleveland, OH, September 29, 2003

         3M Company, St. Paul, MN, January 19, 2004

         Visa International, Foster City, CA, April 13-14, 2004

         “Workplace Violence 12: An Intensive Course Designed for
         Fortune 500 Companies and Selected Private and Government
         Organizations,” Newport Beach, CA, April 19-21, 2004

         Amgen, Thousand Oaks, CA, April 29, 2004

         Motorola, Schaumburg, IL, May 25-26, 2004

         Federated Department Stores (Federated Marketing Group), New
         York, NY, September 22-23, 2004

         General Dynamics, Falls Church, VA, October 12, 2004

         Lockheed Martin, Bethesda, MD, October 26-27, 2004




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         Tribune Company, Chicago, IL, December 8, 2004

         ConAgra Foods, Omaha, NE, January 27, 2005

         ConAgra Foods, Omaha, NE, February 15, 2005

         “Workplace Violence 13: An Intensive Course Designed for
         Fortune 500 Companies and Selected Private and Government
         Organizations,” Newport Beach, CA, April 18-20, 2005

         CUNA Mutual, Newport Beach, CA, April 21, 2005

         Darden Restaurants, Orlando, FL, October 10, 2005

         Lockheed Martin, Orlando FL, October 19, 2005

         “Reading People,” sponsored by Threat Assessment Group, Park
         Dietz & Associates, and the Paul Ekman Group, Las Vegas, NV,
         October 12-14, 2005

         FedEx Corporate, Memphis, TN, March 28-30, 2006

         “Workplace Violence 14: An Intensive Course Designed for
         Fortune 500 Companies and Selected Private and Government
         Organizations,” Newport Beach, CA, April 24, 2006

         TAG Advanced Case Management Seminar, Newport Beach, CA,
         April 25-27, 2006

         3M Company, Minneapolis, MN, May 17-18, 2006

         Twin Cities Security Partnership, May 18, 2006

         Ameriprise Financial, Minneapolis, MN, May 24-26, 2006

         3M Company, Minneapolis, MN, May 17-18, 2006

         “Workplace Violence 14: An Intensive Course Designed for
         Fortune 500 Companies and Selected Private and Government
         Organizations,” Chicago, IL, October 24, 2006

         TAG Advanced Case Management Seminar, Chicago, IL, October
         25-27, 2006




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         PepsiCo, Plano, TX, November 14, 2006

         Tribune Company, Chicago, IL, November 15, 2006

         McDonald’s, Oakbrook, IL, November 16, 2006

         Los Angeles Superior Court, Los Angeles, CA, December 1-2,
         2006

         “Workplace Violence 15: An Intensive Course Designed for
         Fortune 500 Companies and Selected Private and Government
         Organizations,” Newport Beach, CA, April 23, 2007

         Macy’s Inc., St. Louis, MO, June 19-21, 2007

         Macy’s Inc., New York City, NY, July 10-12, 2007

         Macy’s Inc., Los Angeles, CA, July 31- August 2, 2007

         Macy’s Inc., Minneapolis, MN, August 7-9, 2007

         Macy’s Inc., Atlanta, GA, August 28-30, 2007

         USAA, San Antonio, TX, September 18-19, 2007

         Abbott Laboratories, Abbott Park, IL, February 5, 2008

         Motorola, Chicago, IL, February 6, 2008

         “Workplace Violence 16: An Intensive Course Designed for
         Fortune 500 Companies and Selected Private and Government
         Organizations,” Newport Beach, CA, June 2-4, 2008

         Abbott Laboratories, Abbott Park, IL, June 27, 2008

         3M, Minneapolis, MN, October 1, 2008

         Johns Hopkins Institutions, Baltimore, MD, December 1, 2008

         DRS Technologies, Palm Beach, FL, January 29, 2009

         Abbott Laboratories, Newport Beach, CA, February 10, 2009




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         Executive Resource Center, Oklahoma City, OK, July 16, 2009

         Abbott Laboratories, Abbott Park, IL, September 15, 2009

         Health Care Partners, Los Angeles, September 24-24, 2009

         Abbott Laboratories, Abbott Park, IL, October 13-14, 2009

         Lockheed Martin, Fort Worth, TX, May 5-6, 2010

         Air Liquide, Newport Beach, CA, July 28-29, 2010

         “Workplace Violence 17: Prevention of Workplace Misconduct
         and Violence,” Newport Beach, CA, March 28-29, 2011

         “Mental Disorder and the Workplace,” Newport Beach, CA, March
         30, 2011

         Pitney Bowes, Stamford, CT, May 3-4, 2011

         Federal Express, Webinar: Monitoring and Assessing Written
         Communications, August 12, 2011

         Federal Express, Webinar: Suicide and Suicide Prevention,
         January 25, 2012

         “Workplace Violence 18: Prevention of Workplace Misconduct
         and Violence,” Newport Beach, CA, March 19-21, 2012

         Federal Express, Webinar: Safe Termination, July 11, 2012

         Air Liquide, Newport Beach, CA, August 7-8, 2012

         3M, Minneapolis, MN, November 5, 2012

         Amgen, Thousand Oaks, CA, November 30, 2012

         Federal Express, Webinar: Preparing for Difficult Conversations,
         January 23, 2013

         Apollo Group, Phoenix, AZ, February 21, 2013

         Federal Express, Webinar: Mental Disorders in the Workplace,
         April 17, 2013




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         Discover, Webinar: Domestic Violence and the Workplace, May
         29, 2013

         Southern California Edison, Rosemead, CA, June 5, 2013

         “Intensive Private Seminar on Workplace Violence Prevention,”
         Washington, DC, September 16-17, 2013

         Corning, Inc., Corning, NY, September 19, 2013

         “Intensive Private Seminar on Workplace Violence Prevention,”
         Newport Beach, CA, October 7-8, 2013

         BASF, Florham Park, NJ, October 10-11, 2013

         Frito-Lay, Coronado, CA, November 4, 2013

         Gatekeeper Safety Training, Teague, Seattle, WA, December 10,

         Executive Briefing, Teague, Seattle, WA, December 10, 2013

         Federal Express, Webinar: Assessing and Managing Threats,
         January 29, 2014

         Young Presidents’ Organization, Las Vegas, NV, February 11,
         2014

         Managing Troubled Employees and Troubling Situations, Teague,
         Seattle, WA, February 19, 2014

         American Express, Webinar: Principles of Violence Prevention,
         April 9, 2014

         Ameriprise Financial, Professional Course Training, Minneapolis,
         MN, April 23-24, 2014

         Abbott Labs, Webinar: Assessing and Managing Threats, July
         17, 2014

         Abbott Labs, Webinar: Intimate Partner Violence, August 5,
         2014




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         American Express, Webinar: Safe Termination of End Stage
         Employees, September 18, 2014

         Abbott Labs, Webinar: Managing Mentally Ill Employees,
         October 1, 2014

         MGM Resorts, Las Vegas, NV, February 26-27, 2015

         Allied Intelligence, Course: Social Media Threat Assessment, St.
         Louis, MO, March 4-5, 2015

         PepsiCo/FritoLay Security, Huntington Beach, CA, April 30, 2015

         “Workplace Violence Advanced Instruction and Certification,”
         Newport Beach, CA, May 11-12, 2015

         “Workplace Violence Advanced Instruction and Certification,”
         Newport Beach, CA, August 17-18, 2015

         “Workplace Violence Advanced Instruction and Certification,”
         Newport Beach, CA, October 19-20, 2015

         TE Connectivity, Webinar: Violence in the Workplace:
         Prevention, Detection, and Response, December 17, 2015

         TE Connectivity, Webinar: Violence in the Workplace:
         Prevention, Detection, and Response, December 21, 2015

         Howard Hughes Medical Institute, Webinar: Principles of
         Workplace Violence, February 18, 2016

         Herbalife, Los Angeles, CA, March 17-18, 2016

         FedEx, Webinar: Case Escalation, April 6, 2016

         Packaging Corporation of America, “Workplace Violence
         Advanced Instruction and Certification,” Newport Beach, CA,
         April 19-20, 2016

         Capital Group, Irvine, CA, May 13, 2016

         Executive Briefing, General Atomics, Poway, CA, June 30, 2016

         General Atomics, Torrey Pines, CA, September 7-8, 2016




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         “Workplace Violence Advanced Instruction and Certification,”
         Newport Beach, CA, October 17-18, 2016

         Macy’s, Webinar: “Macy’s Workplace Violence Prevention
         Program” (with Rochelle O’Day, for Asset Protection
         Department), November 11, 2016

         3M Company, St. Paul, MN, November 28-30, 2016

         Capital Group, Irvine, CA, December 14, 2016

         CF Industries, Deerfield, IL, February 28 – March 1, 2017

         Publicis Media, New York, NY, March 13 and March 15, 2017

         “Workplace Violence Advanced Instruction and Certification,”
         Newport Beach, CA, April 13-14, 2017

         Nike, Beaverton, OR, May 1-2, 2017

         Quest Diagnostics, Tampa, FL, May 4-5, 2017

         Publicis Group, Executive Briefing, Chicago, IL, August 9, 2017

         “Workplace Violence Advanced Instruction and Certification,”
         Newport Beach, CA, October 16-17, 2017

         Western Digital Corporation, Executive Briefing, San Jose, CA,
         August 24, 2018

         Allstate, 2-Day Senior Leadership Team Training, Chicago, IL,
         September 11-12,2018

         “Workplace Violence Advanced Instruction and Certification,”
         Newport Beach, CA, October 15-16, 2018

         Western Digital Corporation, 2-Day Specialist Training, Irvine,
         CA, November 28-29, 2018

         Allstate, Senior Leadership Training, Chicago, IL, December 12,
         2018




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          “Workplace Violence Advanced Instruction and Certification,”
          hosted by Allstate, Northbrook, IL, May 9-10, 2019

          “Workplace Violence Advanced Instruction and Certification,”
          Newport Beach, CA, October 21-22, 2019

          Ducommun, 1-Day Live Training: “Workplace Misconduct
          Mitigation,” Santa Ana, CA, December 17, 2019

 FILMOGRAPHY:5

 Law & Order (TV Series) (technical advisor - 169 episodes)

 -   Rubber Room (2010)
 -   Love Eternal (2010)
 -   Immortal (2010)
 -   The Taxman Cometh (2010)
 -   Crashers (2010)
 -   Brazil (2010)
 -   Brilliant Disguise (2010)
 -   Boy on Fire (2010)
 -   Steel-Eyed Death (2010)
 -   Blackmail (2010)
 -   Human Flesh Search Engine (2009)
 -   Dignity (2009)
 -   The Drowned and the Saved (2009)
 -   Skate or Die (2009)
 -   Exchange (2009)
 -   All New (2009)
 -   Promote This! (2009)
 -   Take-Out (2009)
 -   Flaw (2005)
 -   Red Ball (2005)
 -   In God We Trust (2005)
 -   Publish and Perish (2005)
 -   Tombstone (2005)
 -   Sects (2005)
 -   Dining Out (2005)
 -   License to Kill (2005)
 -   The Sixth Man (2005)
 -   Fluency (2005)

 5
     Based on information published by IMDb as of 1/1/21, available at:
     https://www.imdb.com/name/nm0226352/?ref_=fn_al_nm_1




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 -   Ain't No Love (2005)
 -   Fixed (2004)
 -   Enemy (2004)
 -   All in the Family (2004)
 -   Cry Wolf (2004)
 -   Gunplay (2004)
 -   Coming Down Hard (2004)
 -   The Brotherhood (2004)
 -   The Dead Wives Club (2004)
 -   C.O.D. (2004)
 -   Caviar Emptor (2004)
 -   Gaijin (2004)
 -   Vendetta (2004)
 -   Nowhere Man (2004)
 -   Evil Breeds (2004)
 -   City Hall (2004)
 -   Darwinian (2004)
 -   Embedded (2003)
 -   Bounty (2003)
 -   Bodies (2003)
 -   Sheltered (2003)
 -   Suicide Box (2003)
 -   B*tch (2003)
 -   Star Crossed (2003)
 -   Absentia (2003)
 -   Under God (2003)
 -   Chosen (2003)
 -   Open Season (2002)
 -   Tragedy on Rye (2002)
 -   Patriot (2002)
 -   Oxymoron (2002)
 -   Attorney Client (2002)
 -   Dazzled (2002)
 -   Slaughter (2002)
 -   Equal Rights (2002)
 -   Girl Most Likely (2002)
 -   Born Again (2002)
 -   DR 1-102 (2002)
 -   Undercovered (2002)
 -   The Collar (2002)
 -   Possession (2001)
 -   For Love or Money (2001)
 -   Armed Forces (2001)
 -   Deep Vote (2001)




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 -   School Daze (2001)
 -   All My Children (2001)
 -   Whiplash (2001)
 -   A Losing Season (2001)
 -   Whose Monkey Is It Anyway? (2001)
 -   Hubris (2001)
 -   Burn Baby Burn (2000)
 -   Return (2000)
 -   Standoff (2000)
 -   Stiff (2000)
 -   High & Low (2000)
 -   Black, White and Blue (2000)
 -   Trade This (2000)
 -   Fools for Love (2000)
 -   Panic (2000)
 -   Sundown (1999)
 -   Blood Money (1999)
 -   Patsy (1999)
 -   Marathon (1999)
 -   Justice (1999)
 -   Merger (1999)
 -   DNR (1999)
 -   Killerz (1999)
 -   Gunshow (1999)
 -   Shield (1999)
 -   Harm (1999)
 -   Sideshow (1999)
 -   Hunters (1999)
 -   Haven (1999)
 -   Ramparts (1999)
 -   Punk (1998)
 -   Flight (1998)
 -   Bait (1998)
 -   DWB (1998)
 -   Cherished (1998)
 -   Monster (1998)
 -   Tabloid (1998)
 -   Bad Girl (1998)
 -   Disappeared (1998)
 -   Stalker (1998)
 -   Carrier (1998)
 -   Divorce (1998)
 -   Faccia a Faccia (1998)
 -   Grief (1998)




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 -   Expert (1998)
 -   Under the Influence (1998)
 -   Ritual (1997)
 -   Blood (1997)
 -   Baby, It's You (1997)
 -   Nullification (1997)
 -   Harvest (1997)
 -   Navy Blues (1997)
 -   Denial (1997)
 -   Thrill (1997)
 -   Terminal (1997)
 -   Past Imperfect (1997)
 -   Passion (1997)
 -   We Like Mike (1997)
 -   Double Down (1997)
 -   Mad Dog (1997)
 -   Showtime (1997)
 -   Turnaround (1997)
 -   D-Girl (1997)
 -   Working Mom (1997)
 -   Matrimony (1997)
 -   Barter (1997)
 -   Menace (1997)
 -   Legacy (1997)
 -   Entrapment (1997)
 -   Deadbeat (1996)
 -   Double Blind (1996)
 -   Corruption (1996)
 -   Survivor (1996)
 -   I.D. (1996)
 -   Causa Mortis (1996)
 -   Aftershock (1996)
 -   Homesick (1996)
 -   Pro Se (1996)
 -   Girlfriends (1996)
 -   Slave (1996)
 -   Atonement (1996)
 -   Deceit (1996)
 -   Savior (1996)
 -   Custody (1996)
 -   Charm City (1996)
 -   Trophy (1996)
 -   Corpus Delicti (1996)
 -   Remand (1996)




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 -   Blood Libel (1996)
 -   Angel (1995)
 -   Paranoia (1995)
 -   Hot Pursuit (1995)
 -   Jeopardy (1995)
 -   Savages (1995)
 -   Rebels (1995)
 -   Bitter Fruit (1995)
 -   Nurture (1994)

 Law & Order: Criminal Intent (TV Series) (technical advisor - 108
 episodes)

 -   Three-in-One (2010)
 -   Inhumane Society (2010)
 -   Palimpsest (2010)
 -   The Mobster Will See You Now (2010)
 -   True Legacy (2010)
 -   Lost Children of the Blood (2010)
 -   Disciple (2010)
 -   Traffic (2010)
 -   Love on Ice (2010)
 -   Love Sick (2010)
 -   Abel & Willing (2010)
 -   Gods & Insects (2010)
 -   Delicate (2010)
 -   Broad Channel (2010)
 -   Loyalty: Part 2 (2010)
 -   Loyalty: Part 1 (2010)
 -   Seeds (2007)
 -   Renewal (2007)
 -   Bombshell (2007)
 -   Rocket Man (2007)
 -   Silencer (2007)
 -   Players (2007)
 -   30 (2007)
 -   Brother's Keeper (2007)
 -   Flipped (2007)
 -   Albatross (2007)
 -   Privilege (2007)
 -   World's Fair (2007)
 -   Weeping Willow (2006)
 -   Blasters (2006)
 -   The War at Home (2006)




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  -   Siren Call (2006)
  -   Tru Love (2006)
  -   Vacancy (2006)
  -   Dramma Giocoso (2006)
  -   Wrongful Life (2006)
  -   Wasichu (2006)
  -   Proud Flesh (2006)
  -   Watch (2006)
  -   Slither (2006)
  -   Scared Crazy (2005)
  -   Saving Face (2005)
  -   In the Wee Small Hours: Part 2 (2005)
  -   Acts of Contrition (2005)
  -   Prisoner (2005)
  -   Diamond Dogs (2005)
  -   Consumed (2004)
  -   D.A.W. (2004)
  -   Fico Di Capo (2004)
  -   Ill-Bred (2004)
  -   Conscience (2004)
  -   The Saint (2004)
  -   Shrink-Wrapped (2004)
  -   Mis-Labeled (2004)
  -   Pas de Deux (2004)
  -   Unrequited (2004)
  -   Mad Hops (2004)
  -   F.P.S. (2004)
  -   Happy Family (2003)
  -   Sound Bodies (2003)
  -   A Murderer Among Us (2003)
  -   Stray (2003)
  -   Pravda (2003)
  -   But Not Forgotten (2003)
  -   The Gift (2003)
  -   Gemini (2003)
  -   Undaunted Mettle (2003)
  -   A Person of Interest (2003)
  -   Graansha (2003)
  -   Blink (2003)
  -   Cherry Red (2003)
  -   Legion (2003)
  -   Cold Comfort (2003)
  -   Cuba Libre (2003)
  -   Monster (2003)




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  -   Probability (2003)
  -   See Me (2003)
  -   Suite Sorrow (2003)
  -   Baggage (2003)
  -   Con-Text (2003)
  -   Shandeh (2002)
  -   The Pilgrim (2002)
  -   Tomorrow (2002)
  -   Malignant (2002)
  -   Chinoiserie (2002)
  -   Best Defense (2002)
  -   Anti-Thesis (2002)
  -   Bright Boy (2002)
  -   Dead (2002)
  -   Tuxedo Hill (2002)
  -   Faith (2002)
  -   Badge (2002)
  -   Maledictus (2002)
  -   Yesterday (2002)
  -   Seizure (2002)
  -   Phantom (2002)
  -   Semi-Professional (2002)
  -   The Insider (2002)
  -   The Third Horseman (2002)
  -   Enemy Within (2001)
  -   The Good Doctor (2001)
  -   The Pardoner's Tale (2001)
  -   Poison (2001)
  -   The Extra Man (2001)
  -   The Faithful (2001)
  -   Smothered (2001)
  -   Art (2001)
  -   One (2001)

  Law & Order: LA (TV Series) (forensic technical advisor - 18 episodes,
  2010 - 2011) (medical technical advisor - 18 episodes, 2010 - 2011)

  -   Plummer Park (2011)
  -   Angel's Knoll (2011)
  -   Big Rock Mesa (2011)
  -   Hayden Tract (2011)
  -   Runyon Canyon (2011)
  -   Reseda (2011)
  -   Benedict Canyon (2011)




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  -   East Pasadena (2011)
  -   Silver Lake (2011)
  -   Zuma Canyon (2011)
  -   Playa Vista (2010)
  -   Ballona Creek (2010)
  -   Hondo Field (2010)
  -   Pasadena (2010)
  -   Sylmar (2010)
  -   Harbor City (2010)
  -   Echo Park (2010)
  -   Hollywood (2010)

  Kiss the Girls (movie) 1997 (technical advisor)

  Murder One (TV Series) (technical advisor - 1 episode)

  - Chapter Eighteen, Year Two (1997)

  Women's Murder Club (TV Series) (2008) (technical consultant - 1
  episode)

  Never Tell (2008) (technical consultant)

  Listed On-Camera Appearances as Self:

  Profiling Evil: Confessions of the I-5 Strangler (TV Movie) 2012
  (Writer)

  Mind of a Monster (TV Series documentary, 2020)

  - Jeffrey Dahmer (2020)

  Crazy, Not Insane (Documentary) 2020

  Waco Inferno: The Untold Story (TV Movie documentary) 2018

  Dahmer on Dahmer: A Serial Killer Speaks (TV Mini-Series
  documentary) (2017)

  - Part 2 (2017)
  - Part 1 (2017)

  Campus Killer: Santa Barbara (TV Movie documentary) (2014)




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  The Virgin Killer (TV Special documentary) (2014)

  Behind Mansion Walls (TV Series documentary)

  - The Perfect Crime (2011)

  Wicked Attraction (TV Series documentary)

  - Shoot to Thrill (2010)

  Starsuckers (Documentary) (2009)

  Women on Death Row (TV Movie documentary) (2006)

  The Iceman and the Psychiatrist (TV Movie documentary) (2003)

  Investigative Reports (TV Series documentary)

  - Columbine: Understanding Why (2002)

  Serial Killers: Profiling the Criminal Mind (Video documentary)
  (1999)

  The Unexplained (TV Series documentary)

  - Dangerous Obsessions (1998)

  Biography (TV Series documentary)

  - Ted Bundy: The Mind of a Killer (1995)

  America Undercover (TV Series documentary)

  - Murder 9 to 5 (1994)
  - Acts of Violence (1985)

  Viewpoint '93 - Murder in Mind (TV Movie documentary) (1993)

  American Justice (TV Series documentary)

  - Dahmer: Mystery of a Serial Killer (1992)




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  Archive footage:

  The Trial of Jeffrey Dahmer: Serial Killer (Video documentary) (1992)
  - Self - Psychiatrist for the Prosecution (as Dr. Park Dietz)

  E! True Hollywood Story (TV Series documentary) (2005)
  - Andrea Yates ... Self (as Dr. Park Dietz)

  Crimes of the Century (TV Mini-Series documentary) (2013)
  - The State of Texas vs. Andrea Yates (2013) ... Self - Psychiatrist (as
  Dr. Park Dietz)




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